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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


SHANNON PEREZ, et al.,

                   Plaintiffs,

and                                              Civil Action No. 5:11-cv-360
                                                 (OLG-JES-XR)
UNITED STATES of AMERICA,                        Three-Judge Court
                                                 [Lead Case]
                   Plaintiff-Intervenor,

            v.

STATE OF TEXAS, et al.,

                   Defendants.


MEXICAN AMERICAN LEGISLATIVE CAUCUS,
TEXAS HOUSE OF REPRESENTATIVES (MALC),           Civil Action No. 5:11-cv-361
                                                 (OLG-JES-XR)
                   Plaintiff,                    Three-Judge Court
                                                 [Consolidated Case]
            v.

STATE OF TEXAS, et al.,

                   Defendants.


TEXAS LATINO REDISTRICTING TASK FORCE,
et al.,                                          Civil Action No. 5:11-cv-490
                                                 (OLG-JES-XR)
                   Plaintiffs,                   Three-Judge Court
                                                 [Consolidated Case]
            v.

RICK PERRY,

                   Defendant.
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MARGARITA V. QUESADA, et al.,

                      Plaintiffs,                    Civil Action No. 5:11-cv-592
                                                     (OLG-JES-XR)
             v.                                      Three-Judge Court
                                                     [Consolidated Case]
RICK PERRY, et al.,

                      Defendants.


JOHN T. MORRIS,

                      Plaintiff,                     Civil Action No. 5:11-cv-615
                                                     (OLG-JES-XR)
             v.                                      Three-Judge Court
                                                     [Consolidated Case]
STATE OF TEXAS, et al.,

                      Defendants.


EDDIE RODRIGUEZ, et al.,

                      Plaintiffs,
                                                     Civil Action No. 5:11-cv-635
             v.                                      (OLG-JES-XR)
                                                     Three-Judge Court
RICK PERRY, et al.,                                  [Consolidated Case]

                      Defendants.




                              UNITED STATES’ POST-TRIAL BRIEF
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I.      INTRODUCTION

        Between 2000 and 2010, Texas experienced tremendous minority population growth and

a striking decline in the Anglo share of the State’s population. In the redistricting that followed

the 2010 Census, Texas faced a choice: whether or not to draw new Congressional and House

districts that would fairly represent its growing minority communities. Rather than reflect the

demographic realities of a changing state, Texas officials consciously and deliberately chose to

minimize minority representation in its 2011 Congressional and House redistricting plans. The

2011 Congressional Plan further diluted minority voting strength in Texas’s Congressional

delegation by maintaining ten minority opportunity districts despite the increase in total districts

from 32 to 36. Even more brazenly, the 2011 House Plan reduced the number of minority

opportunity districts from 50 to either 45 or 46.

        The evidence presented at trial established that these plans were the product of an intent

to dilute minority voting strength. Using novel tools to implement outmoded ideas in the face of

massive growth in the minority population, the 2011 plans are the latest chapter in Texas’s long

history of racial discrimination in districting. Clothing these stark facts in the race-neutral terms

of incumbency protection and partisanship cannot justify the state’s “troubling blend of politics

and race.” LULAC v. Perry, 548 U.S. 399, 442 (2006).

        The 2010 election provides critical context for Texas’s conscious decision to dilute

minority voting strength across the state. In 2010, for reasons unique to that election cycle,

candidates who were not the candidates of choice of minority voters prevailed in a number of

Congressional and House minority opportunity districts. For the next election cycle, Texas could

either leave the new incumbents to seek the votes of minority voters in these minority

opportunity districts or redraw districts to eliminate minority voters’ opportunity to elect their

preferred candidates of choice. In both the 2011 Congressional and House plans, state officials
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chose to redraw districts in order to protect incumbents from minority voters who had not

favored them in the past.

       State officials minimized minority voters’ opportunity to elect their preferred candidates

using a variety of deliberate techniques. In Congressional District (“CD”) 23 (West Texas) and

House District (“HD”) 117 (Bexar County), state officials applied a “nudge factor” that focused

on replacing high-turnout Hispanic voters with low-turnout Hispanic voters, preserving the

appearance of Hispanic majorities while maximizing Anglo control. In the Dallas-Fort Worth

(“DFW”) Metroplex, Texas packed minority citizens into CD 30, which had already provided

minority voters an opportunity to elect their preferred candidate in the district that existed prior

to the 2011 redistricting (hereinafter “2006 Plan”), and cracked the remaining minority

community between CDs 6, 12, 26, and 33, each a majority Anglo district anchored in

neighboring suburban and rural counties. Texas also split precincts by race and divided

communities in ways that could not be explained by merely partisan aims. In HD 41 (Hidalgo

County), Texas divided precincts by race and pulled in Anglo voters while excluding Hispanic

voters. Similarly, in and around HD 105 (Dallas County), Texas divided precincts by race and

overpopulated minority opportunity districts to forestall the natural emergence of a new minority

opportunity district. Finally, Texas simply dismantled and moved two functional minority

opportunity districts—HD 33 (Nueces County) and HD 149 (Harris County)—to Anglo regions

without making any attempt to replace these districts with new districts in which minority voters

would have the opportunity to elect their preferred candidates of choice.

       While the Texas Legislative Council (TLC) and others expressed concerns that the

Congressional and House maps would violate the Voting Rights Act and warned that state law

concerns must yield to the Voting Rights Act, state officials ignored these warnings. Texas



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enacted the 2011 Congressional and 2011 House plans knowing—indeed, specifically

intending—that the result would be to dilute the opportunity of minority voters to elect their

candidates of choice.

           Texas’s 2011 Congressional Plan and 2011 House Plan were adopted with the purpose of

diluting minority voting strength in violation of Section 2 of the Voting Rights Act, which

enforces the voting guarantees of the Fourteenth and Fifteenth Amendments to the United States

Constitution. The direct and circumstantial evidence presented in this case and the inferences

that flow from this evidence compel this conclusion. Therefore, this Court should enter a

declaratory judgment and set this matter for a remedial hearing to determine whether Texas’s

long and continuing history of racial discrimination in voting merits further relief under Section

3(c) of the Voting Rights Act, 52 U.S.C. § 10302(c).

II.        FACTUAL BACKGROUND

      A.      Population Growth

           According to the 2010 Census, Texas’s population increased by nearly 4.3 million people

between 2000 and 2010. US PFOF ¶ 34. Explosive growth among the state’s minority

populations accounted for approximately 90 percent of the increase, US PFOF ¶ 34, driving the

state’s total minority population up from approximately 48 percent in 2000 to 55 percent in 2010,

US PFOF ¶ 36, and decreasing the state’s total Anglo population from 52 percent to 45 percent

during that same period of time, US PFOF ¶ 36. Specifically, the state’s Hispanic population

growth comprised 65 percent of the total population increase, the African-American population

growth comprised 13.4 percent, and the Asian population growth comprised 10.1 percent. US

PFOF ¶ 35. As a result of this growth, Texas was apportioned four additional seats in the House

of Representatives, increasing the number of representatives from 32 to 36. US PFOF ¶ 44.



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        Even using other metrics, the overwhelming majority of growth is attributable to the

state’s minority groups. Between 2000 and 2010, the voting age population (VAP) of Texas

grew by approximately 3.3 million people, with more than 78 percent of the increase attributed

to the state’s minority population. US PFOF ¶¶ 37-38. The citizen voting age population

(CVAP) also expanded by almost 2 million people, with minority citizens comprising more than

70 percent of the state’s CVAP growth between 2000 and 2010. US PFOF ¶¶ 39-43.

   B.      2010 Election Results

        The 2010 election helps explain why Texas intentionally diluted minority voting strength

in both the Congressional and House plans just months later in 2011. After the 2010 elections,

Texas officials stated that the goal of redistricting would be to protect incumbents, including

several representatives who were not Hispanic-preferred candidates, but nonetheless had recently

been elected from Hispanic opportunity districts. US PFOF ¶¶ 47, 49, 51, 54, 57.

        While the 2010 election featured reduced voter turnout among Hispanic and African-

American voters, as often occurs in a midterm election, Anglo voters turned out at high levels,

nearing participation rates typically associated with a presidential election. US PFOF ¶ 46.

These turnout rates enabled Anglo-preferred candidates of choice to prevail over Hispanic-

preferred candidates of choice in two Hispanic opportunity districts in Congress—CD 23 and CD

27, US PFOF ¶¶ 49, 51—and in four Hispanic opportunity districts in the State House—HD 33,

HD 34, HD 35, and HD 117, US PFOF ¶¶ 53-54.

        Although CD 23 elected a Hispanic-preferred candidate in 2006 and 2008, U.S.

Representative Francisco Canseco defeated the Hispanic-preferred candidate in the 2010

election. US PFOF ¶ 49. Similarly, while CD 27 consistently elected U.S. Representative

Solomon Ortiz, the Hispanic-preferred candidate, in each election from 1982 through 2008, U.S.



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Representative Blake Farenthold, an Anglo-preferred candidate, defeated Representative Ortiz in

2010. US PFOF ¶ 50-51.

       For three election cycles prior to 2010, HDs 33, 34, 35, and 117 consistently elected

Hispanic-preferred candidates, but in racially polarized contests in 2010, each district elected a

candidate preferred by Anglo voters. US PFOF ¶¶ 53, 55. In HD 33, Representative Raul Torres

bested Representative Solomon Ortiz, and in HD 34, Representative Connie Scott defeated

Representative Abel Herrero. Likewise, while Hispanic voters in HD 35 elected their preferred

candidates of choice between 2002 and 2008, Representative Jose Aliseda, the Anglo-preferred

candidate, was elected in 2010. US PFOF ¶ 54. Further, HD 117 elected a Hispanic-preferred

candidate in 2004, 2006, and 2008, but Representative John Garza defeated the Hispanic-

preferred candidate in the 2010 election. US PFOF ¶ 54. Prior to the 2011 redistricting cycle,

even if they did not do so in every election, Hispanic voters were able to elect their preferred

candidates of choice in all four of these House districts. US PFOF ¶¶ 53, 55.

        Texas officials knew that these new incumbents would face difficulty in winning

reelection in 2012, when minority turnout would be higher, so they announced that a redistricting

goal would be incumbency protection. Consistent with that goal, those charged with redistricting

then diluted minority voting strength in those districts in order to protect the new incumbents.

III.   HISTORICAL BACKGROUND

       In the context of Texas’s history of voting discrimination, the 2011 Congressional and

House plans were some of the latest efforts in a persistent pattern of unconstitutional intentional

discrimination. As the demographic and political strength of minority citizens has grown, Texas

has repeatedly sought to limit the minority vote through discriminatory redistricting and

restrictive voting laws. See LULAC v. Perry, 548 U.S. at 439-40; US PFOF ¶¶ 587-602.



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        Texas’s history of official voting discrimination is recent. The same session of the Texas

Legislature that enacted the 2011 Congressional and House plans also enacted a “draconian”

photographic voter identification requirement with the intent to disenfranchise minority voters.

Veasey v. Perry, ___ F. Supp. 2d ____, 2014 WL 5090258, at *25, *55-56 (S.D. Tex. Oct. 9,

2014), appeal pending, No. 14-41127 (5th Cir. filed Oct. 10, 2014). A federal court has found

that Texas’s voter identification law also “creates an unconstitutional burden on the right to vote,

has an impermissible discriminatory effect against Hispanics and African-Americans,” and

“constitutes an unconstitutional poll tax.” Id. at *1. 1

        The imposition of impermissible barriers to voting is nothing new in Texas. Historically,

Texas established poll taxes, authorized White-only primaries, and instituted other forms of

discrimination that directly affected the rights of minorities to register, vote, and otherwise

participate in the political process. E.g., White v. Regester, 412 U.S. 755, 768 (1973); Veasey,

2014 WL 5090258, at *1-4; US PFOF ¶¶ 588-601.

        The pattern of discrimination has also been persistent in redistricting. In every

redistricting cycle since 1970, courts have found that one or more of Texas’s statewide

redistricting plans violated the U.S. Constitution or the Voting Rights Act. See Texas v. United

States, 887 F. Supp. 2d 133 (D.D.C. 2012) (three-judge court), vacated on other grounds, 133 S.

Ct. 2885 (2013); LULAC v. Perry, 548 U.S. 399 (2006); Balderas v. Texas, No. 6:01-cv-158,

2001 WL 36403750 (E.D. Tex. Nov. 14, 2001) (three-judge court) (per curiam); Bush v. Vera,

517 U.S. 952 (1996); Terrazas v. Slagle, 789 F. Supp. 828 (W.D. Tex. 1992) (three-judge court),

aff’d sub nom. Richards v. Terrazas, 505 U.S. 1214 (1992); Upham v. Seamon, 456 U.S. 37

1
 The 2011 Texas legislative process also had significant racial tension. US PFOF ¶¶ 117, 292; Veasey,
2014 WL 5090258, at *17-18. In addition to voter identification, legislation concerning immigration and
sanctuary cities created a hostile atmosphere toward minority legislators. US PFOF ¶ 117; Veasey, 2014
WL 5090258, at *17-18.

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(1982); Terrazas v. Clements, 537 F. Supp. 514 (N.D. Tex. 1982) (three-judge court) (per

curiam); McDaniel v. Sanchez, 452 U.S. 130 (1981); White v. Regester, 412 U.S. 755 (1973);

White v. Weiser, 412 U.S. 783 (1973). See generally Veasey, 2014 WL 5090258, at *3.

       With regard to Congress, the redistricting plan that Texas enacted in 2003 violated the

Voting Rights Act. In 2006, the Supreme Court invalidated portions of Texas’s 2003

Congressional redistricting plan because it diluted the vote “of a group that was beginning to

achieve § 2’s goal of overcoming prior electoral discrimination.” LULAC v. Perry, 548 U.S. at

442 (referring to the state’s growing Hispanic population).

       Likewise, for every House redistricting plan enacted by Texas from 1975 to June 25,

2013—the entire period that Texas was required to comply with Section 5 of the Voting Rights

Act, 52 U.S.C. § 10303—either the United States Attorney General or a federal district court has

concluded that Texas failed to establish the absence of a discriminatory purpose or effect in that

plan. PFOF ¶¶ 595, 597. Most recently in 2001, the Attorney General objected to the 2001

House redistricting plan based on Texas’s failure to establish the absence of a discriminatory

purpose or effect. US PFOF ¶ 597.

       As discussed in the next section, the persistent pattern of voting discrimination in Texas

is a significant factor under Village of Arlington Heights v. Metropolitan Housing Development

Corp., 429 U.S. 252 (1977), in assessing whether purposeful discrimination infected the 2011

redistricting plans. See Rogers v. Lodge, 458 U.S. 613, 625 (1982) (stating that “[e]vidence of

historical discrimination is relevant to drawing an inference of purposeful discrimination,

particularly in cases such as this one where . . . discriminatory practices were commonly

utilized,” were not abandoned until federal intervention, and were replaced by practices “which,

though neutral on their face, serve to maintain the status quo”).



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IV.        LEGAL STANDARD

           Section 2 of the Voting Rights Act of 1965, as amended, 52 U.S.C. § 10301, prohibits

practices and procedures that were adopted or maintained for the purpose of denying or

abridging the right to vote on the basis of race, color, or membership in a language minority

group. Under Section 2, vote dilution exists if, based on the totality of circumstances, it is shown

that citizens of a particular racial or language minority group have less opportunity than other

members of the electorate to participate in the political process and to elect representatives of

their choice. 52 U.S.C. § 10301(b). Section 2 also forbids the adoption of a voting law or

practice with a racially discriminatory purpose. United States v. Brown, 561 F.3d 420, 433 (5th

Cir. 2009); Garza v. Cnty. of Los Angeles, 918 F.2d 763, 766 (9th Cir. 1990); S. Rep. 97-417, at

27 (1982). The Fourteenth and Fifteenth Amendments to the Constitution similarly prohibit the

implementation of voting practices enacted with a racially discriminatory purpose. Reno v.

Bossier Parish Sch. Bd., 520 U.S. 471, 481 (1997) (“Bossier Parish I”).

      A.      Intentional Vote Dilution

           A deliberate decision not to create an opportunity district required by Section 2 or a

conscious decision to eliminate such a district constitutes intentional vote dilution, in violation of

both Section 2 and the Equal Protection Clause of the Fourteenth Amendment. See LULAC v.

Perry, 548 U.S. at 440; Brown, 561 F.3d at 424 (holding that defendants “violated § 2 by

intentionally diluting the voting power of white Democrats”); Garza, 918 F.2d at 766 (“To the

extent that a redistricting plan deliberately minimizes minority political power, it may violate

both the Voting Rights Act and the Equal Protection Clause of the [F]ourteenth [A]mendment.”).

In order for this Court to find intentional vote dilution, “racial discrimination need only be one

purpose, and not even a primary purpose” underlying the challenged redistricting plan. Brown,

561 F.3d at 433 (internal quotation marks omitted); see also Arlington Heights, 429 U.S. at 265-

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66; Velasquez v. City of Abilene, 725 F.2d 1017, 1022 (5th Cir. 1984); Nevett v. Sides, 571 F.2d

209, 218-19 (5th Cir. 1978); Garza, 918 F.2d at 771 (holding that the deliberate choice to

fragment Hispanic population for the purpose of perpetuating incumbencies constitutes

intentional discrimination).

   B.      Proving Discriminatory Purpose

         Discriminatory purpose does not require proof that one or more legislators is a “racist”

or bears racial animus; rather, discriminatory purpose can be established simply by proving an

intent to disadvantage minority voters. Garza, 918 F.2d at 778 & n.1 (Kozinski, J., concurring

and dissenting in part); see also LULAC v. Perry, 548 U.S. at 440 (noting that taking away

political opportunity just as a minority group is about to exercise it “bears the mark of intentional

discrimination that could give rise to an equal protection violation”).

        Such discriminatory purpose may be proved by direct or circumstantial evidence.

Bossier Parish I, 520 U.S. at 488; Rogers, 458 U.S. at 618. “Direct evidence is something close

to an explicit admission . . . that a particular decision was motivated by discrimination; this type

of evidence is rare, but it ‘uniquely reveals’ the . . . intent to discriminate.” Diaz v. Kraft Foods

Global, Inc., 653 F.3d 582, 587 (7th Cir. 2011) (quoting Rudin v. Lincoln Land Cmty. Coll., 420

F.3d 712, 720 (7th Cir. 2005)).

        In Arlington Heights, the Supreme Court outlined a framework for courts to assess

circumstantial evidence of a discriminatory purpose. 429 U.S. at 265-66. In applying this

framework, this Court will need to examine the discriminatory impact of the 2011 Congressional

and House plans, followed by an inquiry into the historical background, sequence of events

leading up to the decision, procedural or substantive deviations from the normal decisionmaking

process, and contemporaneous viewpoints expressed by the decisionmakers. Id. at 266-68; see

also, e.g., Brown, 561 F.3d at 433; Overton v. City of Austin, 871 F.2d 529, 540-41 (5th Cir.
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1989). These categories of evidence “identif[y], without purporting to be exhaustive, subjects of

proper inquiry in determining whether racially discriminatory intent existed.” Arlington Heights,

429 U.S. at 268.

       The categories of evidence known as the “Senate Factors”—due to their inclusion in the

Senate Report that accompanied the 1982 amendments to the Voting Rights Act—are also

circumstantial evidence of a discriminatory purpose. Brown, 561 F.3d at 433; see also Rogers,

458 U.S. at 620-22 (including similar evidence categorized previously in Zimmer v. McKeithen,

485 F.2d 1297 (5th Cir. 1973), aff’d sub nom. E. Carroll Parish Sch. Bd. v. Marshall, 424 U.S.

636 (1976)). The 1982 Senate Report specifies factors that typically may be relevant to a claim

under the Section 2 standard. Thornburg v. Gingles, 478 U.S. 30, 44-45 (1986). These include:

               1. the extent of any history of official discrimination in the state or
               political subdivision that touched the right of the members of the
               minority group to register, to vote, or otherwise to participate in
               the democratic process;

               2. the extent to which voting in the elections of the state or political
               subdivision is racially polarized;

               3. the extent to which the state or political subdivision has used
               unusually large election districts, majority vote requirements, anti-
               single shot provisions, or other voting practices or procedures that
               may enhance the opportunity for discrimination against the
               minority group;

               4. if there is a candidate slating process, whether the members of
               the minority group have been denied access to that process;

               5. the extent to which members of the minority group in the state
               or political subdivision bear the effects of discrimination in such
               areas as education, employment and health, which hinder their
               ability to participate effectively in the political process;

               6. whether political campaigns have been characterized by overt or
               subtle racial appeals;




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                 7. the extent to which members of the minority group have been
                 elected to public office in the jurisdiction.

                 Additional factors that in some cases have had probative value as
                 part of plaintiffs’ evidence to establish a violation are:

                 [1.] whether there is a significant lack of responsiveness on the part
                 of elected officials to the particularized needs of the members of
                 the minority group[;]

                 [2.] whether the policy underlying the state or political
                 subdivision’s use of such voting qualification, prerequisite to
                 voting, or standard, practice or procedure is tenuous.

Id. at 36-37 (quoting S. Rep. No. 97-417 at 28-29). The Senate Report’s “list of typical factors is

neither comprehensive nor exclusive. . . . Furthermore, . . . ‘there is no requirement that any

particular number of factors be proved, or that a majority of them point one way or the other.’”

Id. at 45 (quoting S. Rep. 97-417 at 29).

V.        DIRECT EVIDENCE OF INTENTIONAL DISCRIMINATION

          Although direct evidence of intent is not usually available in voting lawsuits, this is an

unusual case. The United States and the other plaintiffs produced direct evidence that Texas

acted with discriminatory intent in enacting the 2011 Congressional and House plans. Among

the direct evidence of intentional discrimination are (1) emails among key redistricting figures

explaining how map drawers would attempt to diminish minority voting strength, (2) racially

focused statements by key players in the redistricting, and (3) the use of race in splitting

precincts when drawing several of the Congressional and House districts. 2

     A.      “Nudge Factor”

          Emails between map drawers, legislative staff, and political operatives establish a plan by

Texas to draw Congressional districts that would appear to afford Hispanic voters the

2
 Split precincts are also discussed in infra Sections VI.B.4, VI.D.1, VII.D and VII.F as evidence of the
State’s departure from traditional redistricting principles.

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opportunity to elect their preferred candidates but would—by design—be politically controlled

by Anglo voters. While Eric Opiela and Gerardo Interiano both served on the staff of House

Speaker Joe Straus, Opiela suggested that Interiano focus on Hispanic turnout when crafting

districts to maintain the superficial appearance of minority population majorities while

minimizing actual minority electoral opportunity. US PFOF ¶ 106. According to Opiela,

                It also would be good to calculate Spanish Surname Turnout/Total
                Turnout ratio for the 2006-2010 General Elections for all VTDs (I
                already have the data for this for 2006-2008 in a spreadsheet, just
                need to gather it for every VTD for 2010). These metrics would be
                useful in identifying a “nudge factor” by which one can analyze
                which census blocks, when added to a particular district (especially
                50+1 minority majority districts) help pull the district’s Total
                Hispanic Pop and Hispanic CVAPs up to majority status, but leave
                the Spanish Surname RV and TO the lowest. This is especially
                valuable in shoring up Canseco and Farenthold.

US Ex. 75 (Email, Nov. 19, 2010). 3 In this and in other emails, Opiela and Interiano discuss

maintaining the Hispanic citizen-voting age population (“HCVAP”) in certain 2011

Congressional districts at the same level as in the existing 2006 Congressional districts by using

voter turnout data to swap blocks or precincts with lower Hispanic turnout for those with higher

Hispanic turnout. US PFOF ¶ 107. Interiano admitted that “with regard to the nudge factor e-

mail, there was never any doubt . . . that Mr. Opiela was trying to draw districts that would

appear to be Latino opportunity districts because their demographic benchmarks were above a

certain level but would elect a candidate who was not the Hispanic candidate of choice.” Trial

Tr. 375:19-25, Aug. 11, 2014 (Interiano); US PFOF ¶ 114.

        The map drawers used race as a proxy for partisanship, and they assumed that excluding

politically active Hispanic voters was equivalent to excluding politically active Democratic


3
  Interiano explained that in this email “CVAP” stands for citizen voting age population, “RV” stands for
registered voters, and “TO” stands for turnout. US PFOF ¶ 108.

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voters. Texas’s Redistricting Application software, known as “RedAppl,” allowed map drawers

to apply racial shading at the census block level. 4 US PFOF ¶¶ 109-117. When the map

drawers combined the race-based turnout data, which Interiano and Opiela requested and

received from the TLC, with racial population figures, they were able to create a block-level

estimate of the number of Hispanic and non-Hispanic voters who turned out in a given election

from a single census block. US PFOF ¶ 111. With this information, they were able to determine

the level of Hispanic turnout in each census block and include (low turnout) or exclude (high

turnout) Hispanic voters accordingly. 5 US PFOF ¶¶ 114, 117.

          The nudge factor was needed only in those few districts where state officials had to

maintain the appearance of complying with the Voting Rights Act, by keeping the demographic

numbers roughly equal to those in the 2006 Congressional Plan, while at the same time making it

more difficult for Hispanic voters to elect their candidate of choice in those same districts in the

2011 Congressional Plan. See infra Sections VI.B.4 and VI.D.1. Moreover, evidence before this

Court establishes that the map drawers applied these same concepts when eliminating Hispanic

opportunity in certain districts in the 2011 House Plan. See infra Sections VII.D and VII.F.

     B.      Racially Focused Statements

          The emails provide further direct evidence of intentional discrimination. They show that

decisionmakers thought and spoke in terms of race. One email from Opiela describes his plan to

protect the newly elected incumbents in CD 23 and CD 27 by adding “Anglo voters” to those

districts and then, in the case of CD 23, adding enough low-turnout Hispanic areas of Bexar

4
  RedAppl has shading features that allow a map to be shaded by race or ethnicity. For example, if a map
drawer wants to know all of the census blocks in which black voting age population (“VAP”) is greater
than 75 percent in Dallas County, he or she could turn on racial shading in RedAppl to obtain that
information. US PFOF ¶ 82.
5
 Clare Dyer of the TLC explained that a map drawer could achieve the same “nudge factor” result with
data already built into RedAppl. US PFOF ¶ 111.

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County to ensure its majority-minority population status. US PFOF ¶ 118. Opiela refers to

“Anglo voters” as the solution to his political problem not just once, but four times in a single

paragraph. Id. Regarding CD 23, Opiela explained that the map drawers did not want to use

Anglo voters to bolster Republican performance, because that would “put a neon sign telling the

court to redraw [the district].” US PFOF ¶¶ 150-152. Likewise, the non-Hispanic-preferred

candidate elected to HD 117 in 2010 testified that he wanted to add “more Anglo” voters to his

district to secure his reelection chances. US PFOF ¶ 362. These emails and statements reveal

the extent to which the key redistricting participants conceived of partisan politics in distinctly

racial terms.

    C.      Precinct Splits

         The use of race in splitting voting tabulation districts (also known as “VTDs” or

“precincts”) further confirms that Texas acted with discriminatory intent during the 2011

redistricting. Texas split an extraordinarily large number of precincts during the 2011

redistricting: 518 precincts in the Congressional Plan and 412 precincts in the House Plan. US

PFOF ¶ 119. In some instances, map drawers admitted that they relied on racial data in deciding

whether and how to split precincts. See infra Section VI.D.1. In many other instances, the

frequency of and manner in which the plans split precincts are simply unexplainable on grounds

other than race. US PFOF ¶¶ 121-125; see infra Sections VI.B.4, VI.D.1, VII.D, and VII.F. The

use of precinct splits is critical evidence that state officials used race as a proxy for partisanship

and that map drawers intentionally reduced minority political opportunity for a partisan political

purpose in the 2011 Congressional and House plans. US PFOF ¶¶ 119-125; US Ex. 356 ¶¶ 31-

32, 54-56 (Feb. 2014 Arrington Rep.).

         When Texas split precincts, the only accurate statistical data available to guide

boundaries were population size and racial composition—not election information. US PFOF
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121. RedAppl provided population and race data at the census block level, which is typically a

much smaller unit than a precinct. Election data is available only by precinct, and it is not

available at the census block level. Although RedAppl allocates election data to the census block

level, that allocation is not accurate, and Texas redistricting officials knew that. US PFOF ¶ 123.

RedAppl applies election results homogenously throughout a precinct. In other words, RedAppl

assumes that the percentage of the vote received by a candidate in a particular census block

within a precinct is identical to the percentage that the candidate received in the precinct as a

whole. 6 Id. Therefore, when Texas split precincts, it had no accurate way to determine the

electoral performance of the census blocks within those precincts. US PFOF ¶ 124. But Texas

did have racial data for those census blocks and it used this racial data as a proxy to predict the

partisan leanings of voters in those areas. US PFOF ¶ 122. This was intentional race

discrimination.

VI.     THE 2011 CONGRESSIONAL REDISTRICTING PLAN WAS ENACTED WITH
        A DISCRIMINATORY PURPOSE.

        In addition to the direct evidence discussed above, powerful circumstantial evidence

establishes that the 2011 Congressional Plan was enacted with discriminatory intent. Evidence

probative under Arlington Heights demonstrates that Texas specifically intended to minimize

minority representation in the state’s congressional delegation.

        The most relevant circumstantial evidence is the fact that despite massive growth in the

state’s minority population—growth almost entirely responsible for Texas’s gaining four seats in

Congress—Texas did not create a single new minority opportunity district. Though the state


6
 RedAppl assumes that all voters will vote in the same proportion across a precinct. For example,
assume a precinct provided President Obama with 45 percent of the vote. Assume further that the
precinct is one-third Hispanic, and two-thirds Anglo. If the precinct’s Hispanic population is split out of a
district, the assumption under RedAppl is that 45 percent of the remaining Anglo voters voted for
President Obama.

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easily could have done so, it instead chose to cabin minority voting opportunity to ten districts

and thereby diluted the minority vote. In addition, Texas’s targeted manipulations in particular

districts—splitting precincts by race and swapping low-turnout Hispanic voters for high-turnout

ones in CD 23, eliminating minority opportunity in CD 27, and cracking and packing minority

voters in the DFW Metroplex—readily give rise to an inference of intentional discrimination.

Moreover, the unique impact of the 2011 Plan on the districts of minority representatives, along

with troubling deviations in the legislative process, support a finding that Texas acted with

discriminatory purpose in sapping voting power from its minority communities.

     A.      The 2011 Congressional Redistricting Plan Created No Additional Minority
             Opportunity Districts Despite Massive Minority Population Growth

          Under Arlington Heights, the “important starting point” for an assessment of the

circumstantial evidence is the discriminatory impact of the 2011 redistricting plans. 429 U.S. at

266. This is because “people usually intend the natural consequences of their actions.” Bossier

Parish I, 520 U.S. at 487. The 2011 Congressional Plan diluted minority voting strength.

          Despite the enormous growth of Texas’s minority population, the 2011 Congressional

Plan has only ten districts in which minority citizens have the opportunity to elect candidates of

their choice. US PFOF ¶¶ 90-91. This is the same number of minority opportunity districts that

existed in the 32-district 2006 Congressional Plan. US PFOF ¶¶ 92-93. 7 Therefore, the 2011

Congressional Plan is more dilutive than the 2006 Congressional Plan. Reno v. Bossier Parish

Sch. Bd. (Bossier II), 528 U.S. 320, 335 (2000).



7
 Although the 2011 Congressional plan created two new minority opportunity districts (CD 34 and CD
35), it eliminated two others (CD 23 and CD 27). US PFOF ¶ 94. The parties agree that under the 2006
Congressional plan, CD 27 provided minority voters with an opportunity to elect their candidates of
choice, but no longer did in the 2011 Congressional plan. US PFOF ¶¶ 195, 198. And, as discussed
below, the evidence establishes that minority voters’ opportunity to elect their preferred candidate of
choice in CD 23 was deliberately eliminated in the 2011 plan. See infra Section VI.B.

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        One gauge of whether a redistricting plan is more dilutive is to assess the gap between the

actual number of minority ability districts and the number that would be roughly proportional to

the minority share of the citizen voting age population. See, e.g., LULAC v. Perry, 548 U.S. at

438 (“Latinos are, therefore, two districts shy of proportional representation.”).

While “nothing in [Section 2] establishes a right to have members of a protected class elected in

numbers equal to their proportion in the population,” 52 U.S.C. § 10301(b), the proportionality

of “electoral power,” as measured by the share of districts that provide minority voters electoral

opportunity, is relevant to the Section 2 inquiry. See Johnson v. De Grandy, 512 U.S. 997, 1013-

17 & n.11 (1994) (noting that this sort of proportionality is an indication of equal electoral

opportunity). The degree of disparate impact increases if this gap widens.

        According to the American Community Survey (ACS) five-year estimate for 2006-2010,

Black and Hispanic citizens combined constitute 38.2 percent of the state’s citizen voting age

population. US PFOF ¶¶ 40, 632. Proportionality of electoral power would be 12 minority

opportunity districts in the 32-district 2006 Congressional Plan (38.2% x 32 = 12.2) and 14

minority opportunity districts in the 2011 36-district Congressional Plan (38.2% x 36 = 13.75). 8

US PFOF ¶¶ 40, 631. Consequently, the 2006 Plan left minority voters two seats shy of

proportionality, and the 2011 Plan increased the gap to four. Therefore, the 2011 Congressional

Plan further diluted minority voting strength. US PFOF ¶ 45.

        In addition to the 10 minority opportunity districts in the 2011 Congressional Plan, Texas

could have created at least two additional minority opportunity districts. Numerous alternative

plans have shown that it is feasible to draw at least twelve Congressional districts in which

minority citizens would have an opportunity to elect candidates of their choice. US PFOF ¶¶ 95-

8
 The American Community Survey for 2010 had a one-year ACS estimate of 39.3 percent. US PFOF ¶¶
41.

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96. Indeed, this Court’s interim plan, C220, contained 12 minority opportunity districts. See

November 26, 2011 Order at 16 n.32 (ECF No. 544). 9

        First, a minority opportunity district could have been created in South and West Texas

simply by maintaining CD 23 as an opportunity district. Various proposals presented during the

2011 redistricting process did so, and this Court’s interim plans proved that maintaining CD 23

as an opportunity district would not diminish minority opportunities elsewhere as the state has

claimed. US PFOF ¶¶ 167-169. Notably, CD 23 could have been maintained as a Hispanic

opportunity district with only relatively minor changes to the district as it existed in the 2011

Plan. US PFOF ¶ 167.

        Second, Texas also could have created an additional minority opportunity district in the

DFW Metroplex and was urged to do so by its Congressional delegation. Between 2000 and

2010, the minority population in the DFW area grew by more than 500,000, while the Anglo

population decreased by more than 250,000. US PFOF ¶ 211. At the outset of the redistricting

process, U.S. Representative Lamar Smith submitted a Congressional plan on behalf of the Texas

Congressional delegation that would have provided minority voters in Tarrant and Dallas

counties with an additional opportunity to elect their candidate of choice. US PFOF ¶ 213. Ryan

Downton, counsel to the House Redistricting Committee, was aware of Representative Smith’s

plan and discussed the configuration with Smith during the 82nd Legislature’s regular session.

US PFOF ¶ 214. Indeed, many of Downton’s early drafts included the additional minority

opportunity district in DFW, as did many alternative proposals submitted to the Texas

Legislature. Id. And again, this Court’s interim plans proved that creating a new minority



9
 Minority political cohesion and racially polarized voting patterns are established by the state’s own
analyses and are not seriously in dispute. US PFOF ¶¶ 98-104.

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opportunity district in DFW would not diminish minority opportunities elsewhere. US PFOF ¶

215. 10

      B.        The Construction of CD 23 Provides Evidence of Discriminatory Intent

           CD 23 had been redrawn by a three-judge court following the Supreme Court’s decision

in LULAC v. Perry, 548 U.S. 399 (2006), in order to remedy unlawful vote dilution that occurred

when the Texas Legislature attempted to protect a vulnerable incumbent who was not the

preferred candidate of a growing Hispanic electorate. US PFOF ¶ 135. Just like in LULAC v.

Perry, state officials in 2011 once again eliminated minority voters’ opportunity to elect their

candidate of choice in CD 23. Map drawers used a variety of techniques to achieve their goal of

diluting Hispanic voting strength, and these actions further confirm that Texas acted with

discriminatory intent.

           1.      In CD 23, the Opportunity to Elect Has Been Eliminated

           The Texas Legislature intentionally configured CD 23 so that it would no longer be an

opportunity district for minority voters. Dr. Lisa Handley testified that under the 2006 Plan,

Latino voters in CD 23 elected their preferred candidate in two of the three “endogenous”

Congressional elections held in the district. US PFOF ¶ 135. 11 In addition, Dr. Handley

examined the district’s likely performance using recompiled election results from six


10
  There are additional minority opportunity districts that could have been created. Alternative plans
created an additional minority opportunity district in Harris County. US PFOF ¶ 241. A separate
minority opportunity district in South Texas also could have been created in which the Hispanic citizens
of Nueces County would have had the opportunity to elect their candidate of choice. US PFOF ¶¶ 203-
205. Instead, the Hispanic population in Nueces County was captured by a majority Anglo district, CD
27.
11
  An endogenous election refers to an election that is for the district at issue, and in the context of
Congressional redistricting, it means an election contest for U.S. Representative. Courts generally
consider such elections more probative than other elections for determining whether minority voters can
elect their preferred candidate of choice. See, e.g., Bone Shirt v. Hazeltine, 461 F.3d 1011, 1020-21 (8th
Cir. 2006); Goosby v. Town Bd., 180 F.3d 476, 497 (2d Cir. 1999) (citing Clark v. Calhoun County, 88
F.3d 1393, 1397 (5th Cir. 1996)); Johnson v. Hamrick, 196 F.3d 1216, 1222 (11th Cir. 1999).

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“exogenous” contests 12 involving minority candidates 13 in statewide elections. In the six

exogenous elections Dr. Handley examined, the minority-preferred candidate prevailed in the

2006 Plan version of CD 23 in three of the six elections, giving the district a score of 50 percent

on her Exogenous Index. US PFOF ¶ 136. 14 In contrast, under the 2011 Plan, the minority-

preferred candidate lost in CD 23 in all six of the exogenous election contests that Dr. Handley

analyzed. US PFOF ¶ 136, 138.

         Texas’s expert, Dr. John Alford, has admitted that CD 23 in the 2011 Plan would not

provide minority voters an effective opportunity to elect. US PFOF ¶ 138. Dr. Alford testified,

with respect to the changes in CD 23 from the 2006 Plan to the 2011 Plan, that the problems that

existed in CD 23 in LULAC v. Perry were also present in the 2011 Plan: “There are some

obvious parallels between what happened previously [in 2003] and what happened this time.”

US PFOF ¶ 139. As Dr. Alford put it when discussing the changes to CD23, “we feel like we are

all having déjà vu[.]” Id. He conceded in his testimony that “[i]f I [were] advising the

legislature on drawing the 23rd, I would not have done what was done to the 23rd.” Id.


12
  Exogenous election contests refer to any elections that are not for the district at issue. Recompiled
election analysis is simply the practice of aggregating votes from past elections to predict how voters in a
proposed district will perform in the future. More specifically, recompilation analysis looks at the votes
actually cast in a voting precinct and then recompiles a vote count for those precincts that would comprise
the proposed district. Because the proposed district often includes voting precincts that were not a part of
the benchmark district, recompilation analysis can only be performed by looking at elections that span the
entire jurisdiction, in this case, statewide elections. Recompilation analysis thus depends strictly on
exogenous elections and does not work with endogenous elections that are specific to any particular
district. The purpose of recompiled election analysis is to determine whether a minority-preferred
candidate would prevail if the districts were drawn as proposed.
13
  When assessing ability to elect, the Fifth Circuit has found that elections involving minority candidates
are more probative than Anglo-only election contests. See LULAC v. Clements, 999 F.2d 831, 864 (5th
Cir.1993) (en banc) (“This court has consistently held that elections between white candidates are
generally less probative in examining the success of minority-preferred candidates, generally on grounds
that such elections do not provide minority voters with the choice of a minority candidate.”).
14
  Dr. Engstrom also found that the minority candidate of choice prevailed in 7 of 14 racially contested
exogenous elections in CD 23, which would again demonstrate that the minority candidate of choice
would prevail in 50 percent of the elections in the old CD 23.

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       In his rebuttal report, Dr. Alford presented a reconstituted election analysis of 2012

Congressional elections in the 2011 Plan, and he argued that Representative Pete Gallego, the

Hispanic candidate of choice, would have won the 2012 election in the 2011 version of CD 23.

US PFOF ¶ 140. Dr. Alford did not conduct a standard reconstituted elections analysis. He took

the election results in CD 11, CD 16, CD 20, CD 21, CD 23, and CD 28, parts of which would

have comprised CD 23 in the 2011 Plan, and when he added up the results, he found that the

Democratic candidates in the relevant precincts in those six districts would have received more

than the Republican candidates. Dr. Alford admits that no other expert or the TLC uses

reconstituted election analysis in this manner. US PFOF ¶¶ 141, 143. A key flaw in this type of

analysis is that it fails to consider the ethnicity of the candidate in each of the Congressional

contests, or the likelihood that these candidates may not have take similar stances on issues. US

PFOF ¶¶ 142, 143. Dr. Alford’s flawed analysis does not rebut the well-supported conclusions of

Dr. Handley and other experts in this matter that CD 23 in the 2011 Plan did not provide

Hispanic voters with the opportunity to elect their candidates of choice.

       2.      The “Nudge Factor” Applied to CD 23

       Legislators wanted to help Representative Canseco get re-elected, even though he was

not the candidate of choice of Hispanic voters in CD 23. US PFOF ¶ 145. Texas’s past

experience in the LULAC v. Perry case indicated that Texas would likely be found to violate

Section 2 if it simply decreased the number of Hispanic voters and increased the number of

Anglo voters in CD 23. As Opiela said in one of his emails, if the state used Anglo voters to

boost Canseco’s performance, that would “put a neon sign telling the court to redraw [the

district].” US PFOF ¶ 151.

       Those officials responsible for the 2011 Congressional Plan had to resort to more



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sophisticated, less obvious means. They intentionally drew CD 23 to make it appear to be a

Hispanic opportunity district but in reality fail to provide Hispanic voters the opportunity to elect

their candidate of choice. US PFOF ¶ 146. Officials intentionally removed highly mobilized

Hispanic voters from the district and replaced them with low-turnout Hispanic voters, thus

maintaining the same HCVAP level as in the 2006 Plan but eliminating CD 23 as a minority

opportunity district. US PFOF ¶¶ 147-149.

       Analysis of turnout data shows that Texas succeeded in decreasing Hispanic turnout,

even though the district appeared to have the same demographics. Dr. Handley concluded that

turnout was higher in areas removed from CD 23 than in areas added to the district. US PFOF ¶

154. Dr. Henry Flores found that in the precincts swapped by the map drawers, Hispanic turnout

was two percentage points lower in CD 23 in the 2011 Plan as compared to the 2006 Plan, and

Anglo turnout was two percentage points higher in the same comparison. US PFOF ¶ 155.

Furthermore, reconstituted election analyses by Texas’s Office of the Attorney General (“OAG”)

show that Hispanic voters turned out at a lower rate in CD 23 in the 2011 Plan than in the 2006

Plan. US PFOF ¶ 156.

       3.      State Officials Ignored Warnings that CD 23 Did Not Comply with the
               Voting Rights Act

       The dilution of the Hispanic vote in CD 23 was the direct result of deliberate choices. As

the map drawers were creating CD23, they received a recompiled election analysis for their draft

maps, which included an index of 10 elections compiled by the Texas OAG. US PFOF ¶ 152.

The OAG used 10 statewide elections (“the OAG 10”) to determine whether the Hispanic

candidate of choice would prevail in an election in CD 23 in the 2006 Plan, as well as in the

configuration of CD 23 for which map drawers requested election analysis. US PFOF ¶ 152. For

example, this index showed that Hispanic voters would be able to elect their candidate of choice

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in CD 23 in 3 out of 10 elections in the 2006 Plan. US PFOF ¶ 600. In the Solomons-Seliger Plan

(C125), Hispanic voters could elect their candidate of choice in CD 23 in only 1 in 10 elections.

US PFOF ¶¶ 160-163. In Plan C130, the Senate Committee substitute, again the candidate of

choice of Hispanic voters was able to prevail in only 1 of 10 elections. Id. TLC Counsel Jeffrey

Archer and David Hanna warned that the committee map being offered for consideration

impermissibly decreased election performance for Hispanic voters in CD 23. Id. Senate

Committee staffer Doug Davis also expressed concerns that the proposed CD 23 would elect

Hispanic-preferred candidates in only 1 of 10 elections. Id. Not only did the legislators and map

drawers not heed any of the warnings, they adopted Plan C185, which, compared to Plan C125,

decreased the percentage of the vote for Hispanic candidates of choice in most elections. US

PFOF ¶¶ 164-166.

         4.     Splitting Counties and Precincts at the End of the map Drawing Process

         In the 2011 Plan, CD 23 contained 39 precinct splits, 37 of which were inserted into the

plan on the last day of map drawing, which occurred on June 13, 2011. Some of these changes

originated in a map that Opiela sent to Interiano. Other changes, such as the addition of 30 split

precincts, occurred because Downton added them to the map.

         Opiela sent a map to Interiano on the morning of June 13, 2011, which is in evidence as

Map STRJC 116. US PFOF ¶ 149. Interiano provided that map to Downton, one minute after he

downloaded it into his RedAppl account. Id. Opiela’s map had two different features that ended

up being adopted in the final 2011 map, Plan C185—the split of predominantly Hispanic

Maverick County and Eagle Pass, 15 and the addition of seven split precincts in Atascosa and

Bexar counties. US PFOF ¶¶ 172-174. Downton admitted that the splitting of Maverick County

15
 Eagle Pass, the largest city in Maverick County, has a population of 26,248 and both Eagle Pass and
Maverick County are more than 90 percent Hispanic. US PFOF ¶ 181.

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and the City of Eagle Pass was taken from Opiela’s proposal and implemented in the final map.

US PFOF ¶ 182. Downton split the boundaries of Maverick County differently than had Opiela,

and Downton included one additional precinct split in the City of Eagle Pass that Opiela had not

proposed in his map. Id. Neither Maverick County nor Eagle Pass had been split during any

prior Congressional redistricting. US PFOF ¶ 183.

       State defendants have invoked the goal of raising CD 23’s Spanish Surname Registered

Voter (“SSVR”) level to defend Downton’s splitting of Maverick County. Chairperson

Solomons admits, however, that the SSVR percentage could have been increased without

dividing Maverick County, and by incorporating less of Atacosa, La Salle, or Dimmit Counties

in the final plan. US PFOF ¶ 186. Moreover, Hanna admitted that doing so would have

alleviated his concerns about the low level of Hispanic performance in CD 23. US PFOF ¶ 169.

       Downton agreed that he did not need to split Maverick County, and he could have put all

of it into CD 23, but that option would have made it difficult for Representative Canseco to get

re-elected. US PFOF ¶ 187. Redrawing the district’s lines to increase slightly the number of

Hispanic citizens should have significantly increased Hispanic voters’ ability to elect their

candidates of choice in CD 23—an increase that would have seriously jeopardized

Representative Canseco’s reelection. US PFOF ¶ 188.

       Splitting counties and cities is not the only way in which Downton attempted to diminish

Hispanic voting strength. He also split precincts. Downton’s actions reveal that he adopted

Opiela’s “concept” of making the district appear Hispanic but driving down the ability of




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Hispanic voters to elect their candidates of choice. He just did it in a different way than Opiela

suggested. 16

         Downton found another way to decrease the opportunity of Hispanic voters to elect their

candidates of choice in CD 23 without having it show up in the recompiled election results of the

OAG 10. 17 Downton split 30 additional precincts on the final day of map drawing. US PFOF ¶

175. Downton split heavily Hispanic precincts that have high voter turnout. Precincts on the

Southside of San Antonio were split, and they have heavily Hispanic precincts that turn out to

vote in elections. US PFOF ¶ 176. Downton split the community of Harlandale, which had

previously been part of only CD 23, among CD 20, CD 23, and CD 35. US PFOF ¶ 177.

Historically, this area has been home to a highly effective and politically active Hispanic

community that wielded considerable influence within a single congressional district. US PFOF

¶¶ 176-78.

         Dr. Arrington explained the burdens associated with split precincts. Hispanic voters in

the Southside of Antonio have mobilized effectively to support Hispanic candidates. US PFOF

¶¶ 118-120. When a community is split among three Congressional districts, however, there is

not the same opportunity to get out the vote through mobilization efforts. Id. Dr. Arrington

pointed out that even knowing where to vote is confusing when the area is carved up among

different districts. Id. By splitting the precincts in the manner that he did and assigning them to

three separate congressional districts, Downton was betting that the actual turnout in the

fractured Hispanic community would not be as high in future CD 23 elections.


16
  In Map STRJC 116, Opiela changed the boundaries in such a manner that no Hispanic preferred
candidates would receive 50 percent of the vote in any of those elections. US PFOF ¶ 164. Downton
rejected Opiela’s boundary changes. US PFOF ¶ 158.
17
  As explained above, election results are available only by precinct, and there is not an accurate way to
determinethe election results for subunits of a precinct once it has been split.

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        There was no question that CD 23 could have been changed to allow Hispanic voters a

greater opportunity to elect their candidates of choice. US PFOF ¶¶ 167-169. The evidence shows

that this did not happen because Texas officials wanted to make CD 23 safer for an incumbent

who was not preferred by Hispanic voters. US PFOF ¶¶ 129, 145.

        5.      Statements in the Legislative Process Support an Inference of Discriminatory
                Purpose

        A contemporaneous statement by Chairperson Solomons, which misled fellow members

in supporting a plan that diminished the ability of Hispanic citizens to elect their candidate of

choice in CD 23, further supports an inference of discriminatory intent. Chairperson Solomons

introduced an amendment, Plan C170, to the Congressional redistricting plan on June 14, 2011.

The amendment concerned changes to the boundaries of CD 23 and CD 20. US PFOF ¶ 287.

Chairperson Solomons assured representatives on the House Floor that Plan C170 made changes

necessary to maintain the ability of Hispanic voters to elect their candidates of choice in CD 23.

Id. Based on that representation, Representative Mike Villareal, a member of the Redistricting

Committee, voted for the amendment. US PFOF ¶¶ 288. Contrary to Chairperson Solomons’

assurances, Plan C170 in fact decreased the performance of Hispanic-preferred candidates in

statewide elections in CD 23. US PFOF ¶ 287. Chairperson Solomons and his staff had received

OAG election analyses prior to his introduction of Plan C170. Id.

        Moreover, Representative Tracy King on the House floor alerted the legislators to the

fracturing of Maverick County and the City of Eagle Pass at this time. US PFOF ¶ 184. Even

after becoming aware of the splitting of these Hispanic communities, neither Downton nor

anyone else involved in the process attempted to rectify the problem. Id.

   C.        The 2011 Plan Eliminated Minority Electoral Opportunity in CD 27




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       The 2011 Plan eliminated the opportunity for Hispanic voters to elect the candidates of

their choice in CD 27. All of the experts in this case agree that in CD 27, as it existed under the

2006 Plan, minority voters could elect their candidates of choice. US PFOF ¶ 195. The 2006

version of CD 27 was located in southeastern Texas; it included the cities of Corpus Christi and

Brownsville and the counties of Kenedy, Kleberg, Willacy, and Nueces, as well as portions of

Cameron and San Patricio counties. US PFOF ¶ 191. Representative Farenthold has represented

CD 27 since 2010, when he defeated 27-year incumbent Solomon Ortiz, Jr. Representative

Farenthold was not the Hispanic candidate of choice in 2010. US PFOF ¶ 193.

       The 2011 redistricting plan removed the southern counties of Kenedy, Kleberg, Willacy,

and Cameron from CD 27, and instead, it included Nueces County with predominantly Anglo

counties north and west of Nueces County. US PFOF ¶ 197. All experts again agree that

Hispanic voters in Nueces County and the new CD 27 no longer had the ability to elect their

preferred candidates. US PFOF ¶ 198.

       Because CD 27 in the 2006 Plan was overpopulated by only approximately 43,000

individuals, the map drawers could have removed only a few precincts to bring the district into

compliance with one-person, one-vote requirements. US PFOF ¶ 202. Downton testified that

CD 27 was redrawn to give Representative Farenthold a better chance of re-election. Id. This

could have been accomplished in the congressional plan by carving out the small portion of

Nueces County containing the incumbent's home and moving that portion into a northern district,

leaving the bulk of Nueces County in a South Texas district. Id. If that had occurred, the sizable

Hispanic population in Nueces County would still be able to elect its candidates of choice.

       Contrary to Texas’s assertion, the 2010 interim field hearings on redistricting do not

justify the choice to join the Hispanic population of Nueces County with counties to the



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northwest in a new CD 27. Representative Todd Hunter stated that witnesses testified at one of

those hearings that they wanted a congressional district in the Coastal Bend area. US PFOF ¶

205. He conceded that no one attending the hearings requested that Nueces be grouped with

Bastrop, Caldwell, Gonzales, and Lavaca Counties. US PFOF ¶ 206. Moreover, numerous

individuals at the interim hearings testified about the importance of continuing to allow Hispanic

voters in Nueces County the opportunity to elect candidates of choice. Id. Some individuals at

the hearings—including, for example, Congressperson Blake Farenthold—suggested that it

might be possible to create both a Coastal Bend district and maintain a majority-Hispanic

district, but these suggestions were not adopted. US PFOF ¶ 205-206.

      D.        The Construction of the Congressional Districts in DFW Provides Evidence of
                Discriminatory Intent

           1.      Map Drawers Diluted Minority Voting Strength by Splitting Precincts and
                   Cracking Minority Communities

           Map drawers diluted minority voting strength in DFW by violating traditional

redistricting principles—cracking minority communities and splitting precincts. 18 Instead of

allowing an additional minority opportunity district to occur naturally within the compact

minority communities in the DFW Metroplex, the map drawers intentionally divided much of the

minority population among four Anglo-controlled Congressional districts—CD 6, CD 12, CD

26, and CD 33. US PFOF ¶¶ 217-219.

           CD 6 is anchored in majority Anglo Ellis and Navarro Counties. Anglos make up 69.7

percent of the VAP in Ellis County and 65.1 percent of the VAP in Navarro County. US PFOF

¶¶ 220. In the 2011 plan, a “finger” reaches up from majority Anglo Ellis and Navarro Counties
18
  Cracking occurs when a cohesive minority community is divided into several districts, preventing the
group from voting together to elect a candidate of their choice. US PFOF ¶ 217. Splitting precincts tends
to reduce turnout because of voter confusion. US PFOF ¶ 120; see also supra Part V.C. Concentrating
precinct splits in minority communities weighs more heavily on minority voters and drives down minority
voter turnout. US PFOF ¶ 120.

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to take in large concentrations of African-American and Hispanic population from Dallas and

Tarrant Counties. US PFOF ¶ 222. The boundaries of the district split 39 precincts. Id. These

splits disproportionately affect majority minority precincts—28 of the 39 split precincts are

majority minority. US PFOF ¶ 222.

       CD 12 is located entirely within Tarrant County. US PFOF ¶ 223. The boundaries of CD

12 split 53 precincts to combine a majority of northern Tarrant County’s Anglo, rural population

with southeast Fort Worth, which is made up of several inner-city, low-income communities that

are predominantly African-American. US PFOF ¶¶ 224-227. Placing the minority population of

southeast Fort Worth into a district that is anchored by the Anglo communities in northern

Tarrant County nullifies the voting strength of the minority population.

       CD 26 is anchored in rural, majority Anglo Denton County. Anglos make up 67.5

percent of the VAP in Denton County. US PFOF ¶ 228. The district strikes downward from

Denton County in a “lightning bolt” and removes two significant minority communities of

interest in Tarrant County—Near North Side and South Fort Worth. US PFOF ¶ 229. The

boundaries of CD 26 divide 49 precincts, and 38 of those splits are located in the “lightning bolt”

in Tarrant County. US PFOF ¶ 230. The entire divided area is overwhelmingly Democratic, and

therefore the division could not have been driven by political data. US PFOF ¶¶ 231-233.

Downton confirmed that he drew the boundaries of the lightning bolt in CD 26 using racial data,

but he stated that he did so in an effort to comply with another traditional redistricting criterion—

preserving minority communities of interest. US PFOF ¶ 232. This testimony is not persuasive.

Mr. Downton admitted that he had no personal knowledge of the actual minority communities in

DFW, belying his claim that he tried to preserve a cohesive community of interest. Id. Instead,

he used racial shading in RedAppl to group some Hispanic communities together into CD 26



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while severing other cohesive Hispanic and African-American communities in Fort Worth and

placing them in other Congressional districts. US PFOF ¶¶ 231-232. Including the Near North

side and South Fort Worth communities from southern Tarrant County in CD 26 only serves to

dilute the minority vote in these communities, as the overwhelming majority of CD 26’s voting

strength comes from Anglo-dominant Denton County.

       CD 33, one of the state’s newly apportioned congressional districts, encompasses all of

Parker County and parts of Wise County. US PFOF ¶ 234. Anglos make up 87.2 percent of the

VAP in Parker County and 82.9 percent of the VAP in Wise County. Id. That district wends

eastward splitting 10 precincts and fracturing minority communities of interest in the City of

Arlington, which has one of the fastest growing minority populations in Tarrant County, and

subordinates their voting strength to that of the majority-Anglo electorate in Parker and Wise

counties. US PFOF ¶ 235. The configuration of the congressional districts in the DFW

Metroplex, which intentionally cracks the minority population, is evidence of discriminatory

intent. US PFOF ¶ 237.

       2.      Map Drawers Further Diluted Minority Voting Strength by Packing CD 30

       The 2011 Plan also packed a large concentration of Dallas County’s minority population

into CD 30, a majority-minority district that already provides minority voters the opportunity to

elect candidates of their choice. US PFOF ¶ 238. Packing occurs when a minority community

can elect their candidates of choice in a district, and yet, substantial minority population is added

to the already performing district. Id. Prior to the 2011 redistricting, CD30 had a total Black and

Hispanic VAP of 82.1 percent, with a combined Black and Hispanic citizen voting age

population (BHCVAP) of 62.3 percent. US PFOF ¶ 239. In the 2011 Congressional Plan, the

total Black and Hispanic VAP in CD 30 was increased to 85.9 percent, and the BHCVAP to 66



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percent. Id. This high concentration of African-American and Hispanic population is much

greater than necessary for minorities to elect their candidate of choice in CD 30. US PFOF ¶

241. This excessive concentration of African-American and Hispanic population is not

necessary for minorities to elect their candidate of choice in CD 30 and thus serves only to

further suppress minority voting strength in the DFW Metroplex. Id.

   E.      The Discriminatory Treatment of Minority Members of Congress Provides
           Further Evidence of Texas’s Intent During the 2011 Redistricting Process

        The treatment of minority members of Congress during the 2011 redistricting process

further illuminates the discriminatory nature of the process. The evidence at trial establishes that

the map drawers removed key economic features from the districts of Representatives Eddie

Bernice Johnson, Sheila Jackson Lee, and Alexander Green, all of whom are African-American

and represented minority opportunity districts. US PFOF ¶¶ 255-257. The map drawers drew

those members’ district offices out of their districts and drew Representative Johnson’s district to

exclude her home. US PFOF ¶ 246. This occurred despite those members’ repeated efforts to

address and remedy these issues. US PFOF ¶¶ 246-265.

        Limiting the economic ability of a congressional district similarly hinders members in

representing their constituents effectively. For members serving minority opportunity districts,

access to economic engines add to the quality of life of constituents by boosting the economy,

revitalizing struggling communities, and providing jobs for citizens. US PFOF ¶ 259. By

placing these economic engines in Anglo opportunity districts that are not anchored in these

struggling, minority communities, the non minority-preferred Representative has no incentive to

use the economic engines to benefit the minority community. Id. Changing the main district

offices makes it more difficult for members to meet the needs of their constituents. That is




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particularly true in minority-controlled districts, where the demand for constituent services is

often high. Id.

           There was no comparable treatment of Anglo members of Congress in the 2011

redistricting process. To the contrary, the map drawers accommodated the Anglo members’

requests to have certain schools, country clubs, and other special projects drawn into their

districts. US PFOF ¶¶ 255-56. When asked to explain this disparate treatment, Interiano notably

did not chalk it up to politics. Rather, he claimed that it was all merely a “coincidence.” US

PFOF ¶ 265. This “coincidence” affected only minority representatives and is further evidence

of purposeful discrimination.

      F.      The Legislative Process in Enacting the 2011 Congressional Plan Was a
              Departure From Past Practice

           The process leading up to the adoption of the 2011 Congressional Plan illustrates

deviations from typical redistricting procedural standards designed to solicit substantive public

input and to permit meaningful debate. As a result, the 2011 Plan was a product of an exclusive

process that prevented meaningful participation by minority citizens and their elected officials in

both the State Senate and House. US PFOF ¶¶ 265, 292.

           Prior to the start of the 82nd Legislative session, the Senate and House committees held

redistricting hearings across the state, but they did not provide a meaningful opportunity for

citizens to comment. US PFOF ¶¶ 59-65, 265. 19 The hearings were held prior to the release of

the 2010 Census data for the state and as a result no draft maps were available for public

comment. US PFOF ¶¶ 61-62. The hearings were also held during the day in locations that were

not accessible by transportation or that required participants to pay for parking. US PFOF ¶¶ 64-

19
  Between June 21, 2010 and November 20, 2010, the Texas House Committee on Redistricting, the
Texas House Judiciary Committee, and the Texas Senate Select Committee on Redistricting held a total
of 18 field hearings around the State regarding the redistricting process. US PFOF ¶ 59.

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65. Because the hearings did not allow for any substantive public comment, it is clear that they

were organized at least in part to provide superficial support for Texas’s request for preclearance

of its redistricting plans under Section 5.

       On May 30, 2011, the 82nd Legislature’s Regular session adjourned and no legislation

reapportioning the congressional districts was passed or had even been considered. US PFOF

¶ 268. The first detailed proposal for the 2011 Congressional plan (C125) was released that

evening. US PFOF ¶ 269. The following day, the Governor called a special session. US PFOF

¶ 163. From there, the Texas Legislature flew through the enactment process. The entire

process—from the Senate committee hearing and debate through reconsideration by the Senate

after the House committee hearing and debate—lasted only two-thirds of the time that was

allotted, US PFOF ¶ 289; there was time to conduct further debate and additional hearings, but

neither occurred. US PFOF ¶ 289-90. Even more significantly, the legislative debate failed to

address the substance of most alternative proposals and amendments offered by minority groups

or minority-preferred legislators. US PFOF ¶ 250, 254, 256-58, 272, 275, 277-78.

       1.      Senate Process

       Plan C125 was jointly released to the public by Senator Kel Seliger, Chairperson of the

Senate Select Committee on Redistricting in 2011, and House Redistricting Committee

Chairperson Solomons. US PFOF ¶ 269. Minority senators did not have an opportunity to see

Plan C125 before its public release, US PFOF ¶ 269, and the Senate Redistricting Committee

then held its only public hearing at the State Capitol less than 72 hours later, on June 3, 2011.

US PFOF ¶ 271. However, at that hearing, the Committee took up an entirely different plan—

Plan C130—that was only released for public comment the prior evening, on June 2. US PFOF ¶




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271. Both actions—holding only one hearing and switching the plan prior to the hearing—were

deviations from the traditional redistricting process. US PFOF ¶¶ 273-74.

       At the June 3, 2011 public hearing, minority members of the Committee complained

about their exclusion from the Congressional redistricting process. Chairperson Seliger also

admitted on the floor of the Senate that unlike in previous years, no minority members were

involved in the development of the 2011 Congressional Plan. US PFOF ¶ 267.

       At the same public hearing, outside counsel for the State Senate expressed concern to the

Committee that the plan had been rushed without sufficient time for public scrutiny. US PFOF ¶

273. The Senate Committee’s counsel described the redistricting process as “quite different from

what we’ve seen in the past” based on the failure to release a proposal during the regular session,

the limited time for review of the proposal, and failure to provide counsel with the necessary

election data to evaluate Voting Rights Act compliance. US PFOF ¶ 273. The plan that was

ultimately passed, C185, differed substantially from Plan C130 that was available at the June 3

hearing, especially with regard to CD 23 and the DFW Metroplex. US PFOF ¶ 276.

       2.      House Process

       Minority members of the Texas House of Representatives also were excluded from the

redistricting process until plans were unveiled to the public, just days before the public hearing

held by the House Redistricting Committee. US PFOF ¶ 278. On May 31, 2011, one day after

the release of Plan C125, Chairperson Solomons announced that the House Committee would

hold its sole public hearing on June 2. Minority legislators and members of the public were

given less than 48 hours’ notice for this hearing. US PFOF ¶ 279. This was a fraction of the

time that was allotted for comment on other significant legislative proposals during the 2011

Legislature. US PFOF ¶¶ 272-273, 282. Scheduling the hearing so soon after the release of the



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public proposal also provided insufficient time for minority-preferred legislators and their

constituents to offer amendments to the proposal, which was a particular burden on the minority

community whose voting strength was diminished in the plan. US PFOF ¶ 291.

       Minority-preferred legislators’ input was also limited on the House floor. Representative

Dawnna Dukes proposed an alternative plan, Plan C166, which received wide support from

House members who represented minority opportunity districts. US PFOF ¶ 283. However, the

amendment was tabled after only 30 minutes of debate, preventing the proposal from ever being

brought up again. US PFOF ¶ 283. The rejection of Plan C166 mirrored the treatment of

virtually every amendment offered by minority-preferred representatives: perfunctory debate and

a move to table. US PFOF ¶ 285.

                                             *****

       In sum, the 2011 Congressional Plan purposefully diluted minority voting strength.

Texas experienced significant population growth in the last decade, largely attributable to growth

in minority population. Numerous alternative plans before the Legislature reflected that growth

by creating additional minority opportunity districts. The legislature refused to adopt or even

allow for any meaningful debate on any of these alternative plans. Instead, the 2011 Plan further

diluted minority voting strength with regard to Texas’s Congressional delegation by maintaining

ten minority opportunity districts despite the increase in total districts from 32 to 36. Texas

deliberately prevented new minority opportunity districts by swapping low-turnout Hispanic

voters for high-turnout voters in CD 23, by cracking and packing minority voters in the DFW

Metroplex, and by fracturing communities through the use of split precincts in both areas. The

direct and circumstantial evidence regarding the 2011 Congressional Plan demonstrates

discriminatory intent under Section 2. See, e.g., Brown, 561 F.3d at 433.



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VII.   THE STATE HOUSE REDISTRICTING PLAN WAS ENACTED WITH A
       DISCRIMINATORY PURPOSE

       The record establishes that Texas enacted the 2011 House Redistricting Plan with a

discriminatory purpose: the aim to minimize minority representation in the Texas House.

Dramatic growth in the state’s minority communities over the preceding ten years should have

led the legislature to create new minority opportunity districts. Instead, the 2011 House Plan

reduced the number of minority opportunity districts from 50 to either 45 or 46. See US PFOF

¶¶ 34-45, 297-299. Minority voters no longer had an opportunity to elect their preferred

candidates in HD 33 (Nueces County), HD 35 (South Texas), HD 117 (Bexar County), HD 149

(Harris County), and possibly HD 41 (Hidalgo County). US PFOF ¶ 298. In each case, the 2011

House Plan either moved a minority opportunity district to another region or reshaped a district

in an attempt to protect an incumbent who had not been the candidate of choice of minority

voters or who had changed parties after the 2010 election. US PFOF ¶ 299, 356, 401, 424-425.

Moreover, where minority population growth made the creation of new opportunity districts a

simple matter of setting natural district boundaries, the state refused to do so. US PFOF ¶ 300,

409-412, 495-504. Prior to the 2011 redistricting, the number of minority opportunity districts in

the Texas House was disproportionately low, and the 2011 House Plan further diluted minority

voter strength. US PFOF ¶ 295, 632-633.

       Both direct evidence and circumstantial evidence under the Arlington Heights framework

establish that this dilutive effect was precisely what the Texas Legislature intended. The

Legislature’s failure to create any additional minority opportunity districts, when it knew such

districts could be created without violating any traditional redistricting principles, is evidence of

intent to dilute the minority vote. Additional evidence of discriminatory intent is found in state

officials’ use of the “nudge factor” in HD 117 to swap areas of high Hispanic turnout for areas of


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low Hispanic turnout to minimize Hispanic voting strength in the district while creating the

illusion that it was still a minority opportunity district. Furthermore, evidence regarding how

state officials split precincts base on race, and fractured minority communities in HD 41, Nueces

County, and Dallas County provides further confirmation of Texas’s discriminatory intent.

Texas’s inconsistent use of the Texas County Line Rule in Nueces and Harris counties to

eliminate minority opportunity districts demonstrates additional circumstantial evidence of

intent. 20 The destruction of HD 149, which state officials knew to be a minority coalition

district, also shows discriminatory purpose. This discriminatory intent also can be inferred from

how the legislative process protected Anglo-preferred incumbents in minority opportunity

districts, excluded minority legislators, and deviated from standard redistricting practices. Under

the Arlington Heights framework, this Court should conclude that the 2011 House Plan

constitutes intentional vote dilution.

      A.      The 2011 House Plan Refused to Recognize Minority Growth Through New
              Opportunity Districts

           The tremendous growth in Texas’s minority community preceding the 2011 redistricting

made it clear to the Texas Legislature that it could draw new minority opportunity districts in the

House, but officials declined to do so. This Court has recognized that the failure to create any

such districts likely violated the results standard of Section 2 of the Voting Rights Act. See


20
  The Texas County Line rule requires that “whenever a single county has sufficient population to be
entitled to a Representative, such county shall be formed into a separate Representative District, and when
two or more counties are required to make up the ratio of representation, such counties shall be
contiguous to each other; and when any one county has more than sufficient population to be entitled to
one or more Representatives, such Representative or Representatives shall be apportioned to such county,
and for any surplus of population it may be joined in a Representative District with any other contiguous
county or counties.” Tex. Const. art. III, § 26. The Texas Supreme Court has interpreted this provision to
bar “the wholesale cutting of county lines” unless “required or justified to comply with the one-[person],
one vote decisions.” Smith v. Craddick, 471 S.W.2d 375, 378 (Tex. 1971); see also Clement v. Valles,
620 S.W.2d 112, 114-15 (Tex. 1981) (striking down a redistricting plan that divided several counties
unnecessarily).

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Opinion at 8-9 (ECF No. 690). The evidence has now made clear that this conduct was

intentionally discriminatory. The map-drawers themselves have deemed their decision to limit

minority electoral opportunity a “policy choice.” See US PFOF ¶ 504. In both the Rio Grande

Valley and El Paso County, new Hispanic opportunity districts could have been drawn without

disturbing existing opportunity districts. As discussed in more detail below, the Legislature also

could have created additional minority opportunity districts in Dallas and Harris counties.

Rather than doing so, the State of Texas intentionally diluted the Hispanic vote.

       1.      Rio Grande Valley

       Hidalgo County and Cameron County, the two overwhelmingly Hispanic counties that

make up the core of the Rio Grande Valley, had six Hispanic opportunity districts wholly within

their borders prior to the 2011 redistricting. US PFOF ¶ 410. Similar to many other minority

communities, the population of the Rio Grande Valley grew faster than the state as a whole

between 2000 and the 2010. US PFOF ¶ 409; see also US PFOF ¶¶ 34-45. Following the 2010

Census, Hidalgo County had a population equal to 4.62 ideal-sized state house districts, and

Cameron County had a population equal to 2.42 ideal-sized state house districts, making it

possible to create an additional minority opportunity district with the surplus population from

each county. US PFOF ¶ 411. In addition, the Hispanic population in this region is sufficiently

large and geographically compact to create seven districts in the Rio Grande Valley that all

provide Hispanic voters with an opportunity to elect their preferred candidates. US PFOF ¶ 410,

412. In fact, this Court drew seven minority opportunity districts in the Rio Grande Valley in its

second remedial House map. See Opinion at 3-5 (ECF No. 690).

       While the state was aware during the 2011 House redistricting that a seventh district

could be drawn wholly within the Rio Grande Valley, it instead split the Valley and attached the



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surplus population in each county to a House district with an incumbent who resided elsewhere.

See US PFOF ¶ 413, 417-419. Downton admitted that a seventh Rio Grande Valley district

could have been drawn but claimed that the Redistricting Committee made a “policy decision”

not to create it. US PFOF ¶ 419. Gerardo Interiano claimed that he had been unable to create

such a district without violating the Texas County Line Rule elsewhere in the state, but this

Court’s remedial map established that it was indeed possible. US PFOF ¶ 413. In fact, by

refusing to combine the surplus population of the Valley into a single district, the 2011 Plan

increased the number of county line breaks, a substantive departure from the Texas County Line

Rule. Cf. Clements v. Valles, 620 S.W.2d 112, 114 (Tex. 1981) (finding a violation of the

County Lines Rule where counties had been “cut so that their surplus populations [were] joined

to two, rather than one adjoining district”). Minority legislators warned of this problem, but

House leadership refused to apply the same unyielding interpretation of the County Line Rule in

the Rio Grande Valley that it applied elsewhere in the map. US PFOF ¶ 418; see also infra

Section VII.E (Nueces County). The key decisionmakers simply would not accept another

Hispanic opportunity district in the 2011 Plan. For all of these reasons, the State of Texas’s

deliberate decision not to recognize explosive Hispanic growth in the Rio Grande Valley through

the creation of an additional Hispanic opportunity district constitutes intentional vote dilution.

       2.      El Paso County

       Likewise in El Paso County, the Hispanic share of population grew dramatically over the

decade preceding the 2011 redistricting, but Texas knowingly and intentionally refused to create

an additional Hispanic opportunity district in that region as well. US PFOF ¶ 495-504.

Specifically, 2010 Census data revealed that Hispanics made up more than 80 percent of the

population of El Paso County and that the Anglo portion of the voting-age population in HD



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78—the sole El Paso district that had not previously afforded Hispanic voters an opportunity to

elect their preferred candidate—had decreased from 39.2 percent to 29.4 percent over the course

of a decade. US PFOF ¶ 498. While the SSVR of the old HD 78 remained at 47.1percent,

notwithstanding the low Anglo VAP remaining in the district, these shifting demographics made

it clear to the legislature’s leadership that the 2011 redistricting could create an additional

Hispanic opportunity district in El Paso County. US PFOF ¶ 498-499.

         Minority preferred legislators presented redistricting plans that created five Hispanic

opportunity districts in El Paso County, but legislative leadership rejected these proposals based

on a “policy choice” to protect an Anglo-preferred incumbent. US PFOF ¶ 502, 504. Instead,

the 2011 House Plan reduced the SSVR of HD 78, albeit only marginally, and Downton

analyzed election data to ensure that Hispanic-preferred candidates were unlikely to be elected.

US PFOF ¶ 509, 511. Hanna had advised that SSVR levels in HD 78 should be maintained at

pre-redistricting levels in order to avoid Voting Rights Act concerns and noted that any problems

“could easily be remedied by swapping some precincts with an adjoining district.” US PFOF

¶ 507. Rather than follow Hanna’s guidance, Downton surgically split precincts and moved

individual census blocks between HD 78 and HD 77, all the while monitoring election data (the

McCain/Obama contest) to ensure that he did not create a Hispanic opportunity district. US

PFOF ¶ 508-509. The state’s failure to create a new minority opportunity district was

intentional, even if it ultimately was motivated by a desire to protect the Anglo-preferred

incumbent, and therefore violates Section 2. See LULAC v. Perry, 548 U.S. at 440-41. 21

21
   The fact that creating a new Hispanic opportunity district in El Paso County would have left Anglos
underrepresented in the El Paso delegation in proportion to their percentage of the County’s population is
legally irrelevant. Proportionality must be measured on a statewide basis. See LULAC v. Perry, 548 U.S.
at 436. “[G]iven the presence of racially polarized voting—and the possible submergence of minority
votes—throughout Texas, it makes sense to use the entire State in assessing proportionality.” Id at 437-
38.

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   B.        Texas Intentionally Eliminated Hispanic Opportunity in HD 117

        The 2011 House Plan eliminated Hispanic voters’ opportunity to elect their preferred

candidate of choice in HD 117. US PFOF ¶¶ 359-360, 377. The evidence before this Court

established that state officials applied the same redistricting strategy underlying the “nudge

factor” emails to protect Representative John Garza, who was elected to HD 117 in 2010 over

the opposition of most Hispanic voters. US PFOF ¶¶ 368-369. The 2011 district replaced

middle-class, high-turnout Hispanic precincts with poor, low-turnout Hispanic precincts. US

PFOF ¶ 368. The intended and achieved result was a district that increased Hispanic population

levels but decreased SSVR and substantially decreased Hispanic turnout and electoral

performance. US PFOF ¶¶ 376, 378.

        1.      Legislative Goals Regarding HD 117

        At the outset of the 2011 redistricting process, members of the Bexar County delegation

were instructed to draw their ideal districts. Representative Garza testified that his ideal district

extended north to I-10 and south to the Medina River and it remained outside of the I-410 Loop,

which removed all of the City of San Antonio. US PFOF ¶ 361. According to Representative

Garza, these areas outside of San Antonio tended to be “more Anglo and more conservative,”

and election returns confirmed that he performed best in these Anglo areas. US PFOF ¶ 362.

However, his ideal configuration reduced SSVR to 46.3 percent, and it was rejected by the

leadership of the Bexar County delegation because it impermissibly reduced Hispanic voting

strength. US PFOF ¶ 366. Representative Villarreal in the Bexar County delegation told

Representative Garza that his district was a Hispanic opportunity district and that SSVR in HD

117 needed to be at least 50 percent. Id.

        2.      “Nudge Factor” Applied to HD 117



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       Representative Garza refused to allow the SSVR in HD 117 to exceed 50.1 percent. US

PFOF ¶ 390. He and his staff worked with Interiano to build a district that would both maintain

superficial majority-SSVR status while improving his reelection chances, notwithstanding that

he had not been the Hispanic-preferred candidate in 2010. US PFOF ¶ 367. To maintain the

necessary Hispanic demographics, Representative Garza and Interiano added large portions of

southern Bexar County to HD 117, while removing the concentrated Hispanic population in the

core of the City of San Antonio. US PFOF ¶ 368. In particular, Representative Garza and

Interiano drew HD 117 into southern Bexar County, including the City of Somerset and the

community of Whispering Winds, two areas that previously were in HD 118. US PFOF ¶¶ 371-

379. Somerset and Whispering Winds are two impoverished communities with relatively high

Hispanic population but low rates of Hispanic turnout. US PFOF ¶ 373. By contrast,

Representative Garza and Interiano removed the politically mobilized, high Hispanic turnout

area of South San Antonio Independent School District (ISD) from HD 117. US PFOF ¶¶ 374-

375.

       The result is a district that deliberately maintains a 50.1 percent SSVR but decreases

Hispanic turnout and performance. HD 117 in the 2011 Plan increased HVAP by 4.8 points,

increased HCVAP by 5.0 points, but decreased SSVR by 0.7 points. US PFOF ¶ 376. The 2011

district increased the degree of racially polarized voting and decreases Hispanic turnout. Id. The

experts for the United States and Texas both agree: no opportunity to elect existed for Hispanic

citizens in HD 117 in the 2011 Plan. According to Dr. Lisa Handley’s exogenous index, HD 117

scores only 20, compared to a score of 60 under the 2001 Plan. US PFOF ¶ 377. Dr. John

Alford similarly concluded that, despite improvements in Hispanic demographics, Hispanic

voters are only able to elect their candidate of choice 33 percent of the time, a decrease from 60



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percent in HD 117 in the 2011 Plan. US PFOF ¶ 377. The fact that Representative Garza and

Interiano worked to increase the HVAP and HCVAP substantially while simultaneously

decreasing the proportion of Spanish surnamed voters and Hispanic electoral opportunity

indicates that they intentionally and impermissibly focused on race when drawing the district.

US PFOF ¶¶ 378-380; see also ECF 690 at 6 (3/9/12 Opinion).

       3.      Disparate Treatment of a Minority-Preferred Legislator in HD 118

       Representative Joe Farias is the Hispanic-preferred candidate in HD 118, which is

adjacent to HD 117 in the 2011 Plan. US PFOF ¶¶ 381, 384. Prior to the 2011 redistricting, HD

118 encompassed a majority of southern Bexar County, including the City of Somerset and the

community of Whispering Winds. US PFOF ¶ 382. Since being elected in 2007, Representative

Farias has worked with Somerset and Whispering Winds to improve the general infrastructure in

these areas, including introducing and supporting bills to improve funding for education,

housing, and water and sewer systems. US PFOF ¶¶ 385, 387. After draft plans placed much of

southern Bexar County—including Somerset and Whispering Winds—in HD 117,

Representative Farias met with Representative Garza to attempt to negotiate returning those two

communities to HD 118. US PFOF ¶ 386.

       During these negotiations, Representative Garza said that he needed “more Mexicans” in

his district, and he refused any alterations to HD 117 that would raise the SSVR above 50.1

percent. US PFOF ¶ 388. Representative Farias offered to return the South San Antonio ISD

area back to Representative Garza. The heavily Hispanic and politically active community had

been in HD 117 prior to 2011, but Representative Garza refused. US PFOF ¶ 389.

Representative Farias drew a number of alternative plans that returned Somerset and Whispering

Winds to HD 118, but they were all soundly rejected by Representative Garza because they



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increased the SSVR share in HD 117. US PFOF ¶ 391. Representative Farias testified that none

of those alternative plans increased the SSVR in HD 117 to more than 52 percent. Id.

        In a final effort to negotiate, Representative Farias drafted an amendment that left the

City of Somerset in HD 117 but added the community of Whispering Winds back to HD 118.

US PFOF ¶ 392. Representative Farias testified that his proposed amendment necessarily split

precincts because he only had 0.1 percent SSVR share to work with due to Representative

Garza’s precise 50.1 percent limitation. US PFOF ¶ 394. When Representative Farias presented

this amendment to Representative Garza, Representative Garza said that he would leave the

amendment to the “will of the House.” US PFOF ¶ 392. When this amendment was presented

on the House floor, Representative Garza refused to inform the House that he did not oppose the

Amendment. US PFOF ¶ 393. Moreover, Chairperson Solomons spoke against the amendment

because it split precincts, despite the fact he supported the 2011 Plan, which split 412 precincts.

Id. Representative Farias’s treatment during the 2011 redistricting process further establishes

that minority-preferred representatives had no ability to influence the process when their desires

interfered with the goal of eliminating minority voters’ opportunity to elect their preferred

candidates of choice in districts that were represented by Anglo-preferred candidates following

the 2010 wave election. US PFOF ¶¶ 396-397.

   C.      Texas Intentionally Eliminated Hispanic Opportunity in HD 35

        Although HD 35 provided Hispanic citizens the opportunity to elect their candidates of

choice prior to the 2011 redistricting, the 2011 House Plan redrew HD 35 so that it was no longer

a Hispanic opportunity district. US PFOF ¶¶ 406-407. HD 35 was assigned as a “special

project” to an employee of the Office of Speaker Straus, indicating that the effects of changes

made to the district were intended by House leadership. US PFOF ¶ 402. The 2011 House Plan

reduces SSVR in HD 35 by 1.9 percentage points to 53.4 percent. US PFOF ¶ 404. Although
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there is an increase in overall turnout among both Anglo and Hispanic voters, the Anglo voter

turnout is significantly greater than the Hispanic voter turnout, reducing the effective share of

Hispanic voters in the electorate. US PFOF ¶ 405.

    D.      Texas Intentionally Eliminated Hispanic Opportunity in HD 41

         In HD 41, the 2011 House Plan deliberately minimized Hispanic electoral opportunity in

a district that had formerly provided Hispanic voters with the opportunity to elect their preferred

candidates of choice. Texas divided precincts along racial lines. Although Texas claims that the

boundaries of HD 41 were drawn for purely partisan reasons, the evidence shows otherwise. In

redrawing HD 41, Texas split precincts to exclude portions of Republican-leaning precincts and

include portions of Democratic-leaning precincts—actions that, according to electoral data

provided by RedAppl, would be expected to harm the prospects of a Republican candidate. US

PFOF ¶ 459. Therefore, the boundaries of HD 41 establish the state’s intent to dilute the

Hispanic vote.

         Hispanic citizens had the opportunity to elect their preferred candidates of choice to the

Texas House of Representatives in HD 41 prior to the 2011 redistricting, and they had

successfully done so for the prior decade. US PFOF ¶ 422. An election analysis of HD 41 in the

2011 House Plan establishes that the district is marginal, but reconstituted election analysis

cannot determine which side of the margin the district falls on, due to data limitations. US PFOF

¶ 442. Electoral data are gathered at the precinct level, and reconstituted election analysis

assumes that voters across a precinct provide identical levels of support to each candidate. US

PFOF ¶ 442. However, HD 41 split 17 precincts along its boundaries, and many of those

precincts were divided along racial lines. US PFOF ¶¶ 433, 437-439. Given the presence of

racial bloc voting, it is likely that different portions of those precincts exhibit different voting

patterns. US PFOF ¶ 442. Therefore, while it is certain that the 2011 House Plan diminished
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Hispanic electoral strength in HD 41, the manner in which Texas drew HD 41 makes it

impossible to know whether the state successfully eliminated Hispanic electoral opportunity. US

PFOF ¶¶ 422, 442.

       On the other hand, the state’s reason for attempting to eliminate Hispanic electoral

opportunity in HD 41 is clear. Representative Aaron Peña of HD 40 had changed parties and

joined the Republican Caucus after being reelected as a Democrat in 2010. US PFOF ¶¶ 423-

424. While Representative Peña’s district was overwhelmingly Hispanic, neighboring HD 41

had the highest Anglo concentration in Hidalgo County. US PFOF ¶¶ 420, 423. In an effort to

preserve Representative Peña’s incumbency, the 2011 House Plan added his home to HD 41 and

surgically excised incumbent Representative Veronica Gonzales, who had represented HD 41

until the 2011 redistricting, by drawing her home out of HD 41. US PFOF ¶ 425. This

constituted a substantive deviation from the incumbent-driven principles that governed the rest of

the map. US PFOF ¶ 471. Moreover, in contrast to the “member-driven” plan in other areas of

the map, three of the four members of the Hidalgo County delegation—all but Representative

Peña—were not allowed to give input on the Hidalgo County map and were not even told who

had drawn their districts. US PFOF ¶ 469.

       Not content with merely placing Representative Peña in the most Anglo district in

Hidalgo County, the map drawers further manipulated district lines to minimize Hispanic

electoral opportunity. This occurred in two phases. Initially, Gerardo Interiano used partisan

data to draw the most Republican district possible in the region. US PFOF ¶ 446. Interiano’s

map split only four precincts, however, and Representative Peña signed off on the plan. US

PFOF ¶¶ 447-448. Even after Representative Peña gave his approval, Ryan Downton went

beyond what could be achieved using partisan data alone and split several additional precincts



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along the boundary of HD 41. US PFOF ¶ 449. Many of these precinct splits followed a plain

racial division, with census blocks with greater Anglo concentrations included in HD 41 and

homogeneous Hispanic neighborhoods excluded from the district. US PFOF ¶¶ 437-438. HD 41

divided precincts to include country clubs, gated communities, and other disproportionately

Anglo neighborhoods and to exclude densely populated Hispanic neighborhoods and colonias.

US PFOF ¶ 440. The final district drawn by Downton was also highly under-populated, by 4.41

percent of an ideal-sized district, while other Hidalgo County districts (with greater Hispanic

population concentrations) were overpopulated by up to 4.62 percent of an ideal-sized district.

US PFOF ¶¶ 430-432 & tbl.2. This strongly suggests that Texas drew HD 41 to include as many

Anglo voters as could be found in Hidalgo County and then—once there were no concentrations

of Anglo voters left to be added—ceased adding additional population that would dilute the

Anglo concentration of the district. US PFOF ¶ 432.

       This Court should accept the simplest explanation for the remarkable racial pattern in

split precincts along the boundary of House HD 41: The precincts were divided along racial

lines using racial data. US PFOF ¶ 464. In the 2011 Plan, Downton excluded some heavily

Hispanic portions of precincts that favored Republicans. US PFOF ¶ 460. Downton also

included Anglo portions of precincts that favored Democrats. US PFOF ¶ 461. As the evidence

shows, Downton’s actions would—according to electoral data on RedAppl alone—harm the

prospects of Republican candidates. US PFOF ¶ 458. In a marginal district subject to extensive

attention and analysis, it is dubious that line drawers would have reduced projected Republican

performance. US PFOF ¶ 463. In fact, it appears that Downton was using race as a proxy to

determine how the persons included and excluded would vote. US PFOF ¶ 462.




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         The state’s witnesses contradicted each other and offered implausible testimony in an

effort to provide a race-neutral explanation for the racial precinct splits. At trial, Downton

claimed that Representative Peña had directed him to split the additional precincts, principally to

follow roads. US PFOF ¶ 451. However, Representative Peña testified that he did not request

any further precinct splits after he signed off on an earlier version of the district, and the

boundary of HD 41 did not consistently follow roads. US PFOF ¶¶ 453-455. Rather, at trial

Representative Peña claimed to have worked with Representative Ryan Guillen to target more

affluent voters using property tax records. US PFOF ¶ 456. This implausible claim contradicted

both Representative Peña’s sworn deposition testimony and Downton’s testimony at trial and

should not be accepted by this Court. US PFOF ¶¶ 456, 682-686.

         In sum, HD 41 cannot be explained by any race-neutral redistricting principle. Rather,

HD 41 is designed to maximize the likelihood that Hispanic voters will lack an opportunity to

elect their preferred candidates. See Bush v. Vera, 517 U.S. at 963 (recognizing that “incumbent

protection boundaries” may “sabotage[] traditional redistricting principles” by drawing districts

to “shed hostile groups”). Regardless of whether Texas intended to rely upon racial bloc voting

to achieve an ultimate partisan end, “a clear pattern, unexplainable on grounds other than race,

emerges from the effect” of the District’s boundaries, and this evidence alone is sufficient to

establish intentional discrimination as a concomitant purpose. Arlington Heights, 429 U.S. at

266. Therefore, this Court should conclude that this striking racial gerrymander constitutes

intentional vote dilution.

    E.      Texas Intentionally Eliminated a Hispanic Opportunity District in Nueces
            County.

         The 2011 Plan intentionally eliminated the ability of Hispanic voters to elect their

preferred candidate of choice in HD 33 in Nueces County and made no attempt to replace HD 33


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with a new Hispanic opportunity district elsewhere in the state. This alone constitutes intentional

vote dilution. In the two remaining House districts in Nueces County, the Texas House drew the

boundaries to ensure Anglo control over one district, HD 32, instead of providing Hispanic

voters with the possible opportunity to elect in both districts.

       Prior to the 2011 redistricting, Nueces County included two house districts in which

Hispanic voters had the opportunity to elect their preferred candidates, HD 33 and HD 34, as

well as a portion of a third district (HD 32) in which Anglo voters were a majority. US PFOF

¶ 472. In 2010, however, Hispanic voters did not successfully elect their preferred candidates in

any Nueces County district. US PFOF ¶¶ 54, 472. Moreover, Nueces County did not grow as

quickly as the rest of the state between 2000 and 2010, and its total population was only slightly

more than the population of two ideal-sized House Districts going in to the 2011 redistricting.

US PFOF ¶ 478.

       The 2011 Plan acted on the slow growth rate by drawing two House districts (HD 32 and

HD 34) entirely within Nueces County—only one of which (HD 34) would provide Hispanic

voters with a electoral opportunity—and moving HD 33 to another region of the state where

Hispanic voters would not have the opportunity to elect their preferred candidate of choice. US

PFOF ¶¶ 473-478. Moreover, as described above, Texas refused to create any new Hispanic

opportunity districts that would have replaced the loss of Hispanic electoral opportunity in HD

33. See supra Section VII.A. These decisions were intentional, ignored Voting Rights Act

guidance offered by the TLC, and diluted statewide minority voting strength.

       Although Texas has asserted that maintaining a third district that included Nueces County

would violate the Texas County Line rule, the state ignored the guidance of TLC Attorney David

Hanna that this state-law provision would be required to yield to the Voting Rights Act. It was



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possible to include the entire population of Nueces County in two districts without either district

being more than five percent larger than an ideal-sized district. US PFOF ¶ 478. The Texas

County Line Rule requires the state, where possible, to draw House districts without attaching a

portion of a county’s population to a district that extends to other counties. See Clement v.

Valles, 620 S.W.2d 112, 114 (Tex. 1981). However, the Texas Supreme Court had

acknowledged, in the context of one-person, one-vote requirements, that federal law could

preempt this requirement. See id.; see also Bartlett v. Strickland, 556 U.S. 1, 7 (2009) (holding

that “state election-law requirements like [a] Whole County Provision may be superseded by

federal law”). Hanna even warned that in Nueces County, the County Line Rule would “have to

yield to the federal Voting Rights Act if it can be shown [a violation of the Act] could be avoided

by splitting the county.” US PFOF ¶¶ 479-480. But while the County Line Rule routinely

yielded to one-person-one vote requirements, the 2011 House Plan deviated from general

preemption principles by ignoring the Voting Rights Act implications of removing HD 33 from

Nueces County. Cf. Arlington Heights, 429 U.S. at 267 (establishing that when determining

discriminatory intent, “[s]ubstantive departures too may be relevant, particularly if the factors

usually considered important by the decisionmaker strongly favor a decision contrary to the one

reached”).

        Even within the two remaining Nueces County districts (HD 32 and 34), the 2011 House

Plan divided the county along a convoluted line that ensures Anglo control over HD 32. HD 34

was packed with a greater share of Spanish surnamed registered voters than any Nueces County

district prior to the 2011 redistricting, leaving HD 32 with a substantial majority of the Anglo

voters in Nueces County. US PFOF ¶ 484. Moreover, HD 34, the predominantly Hispanic

district, had a population that is 6,075 greater than HD 32. US PFOF ¶ 485. Most notably,



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however, the boundary dividing the two Nueces County districts created a protuberance from HD

34 that ensured that no potential Hispanic candidate with recent legislative experience—

including the Republican incumbent of HD 33, the former representative of HD 33, and the

former representative of HD 34—would reside in the new HD 32 to challenge the Anglo

incumbent. US PFOF ¶ 488. Again, the State’s witnesses provided no plausible alternative

explanation for the convoluted district boundary. US PFOF ¶¶ 491-492. By deliberately

packing District 34 and eliminating potential Hispanic challengers in HD 32, the State

intentionally minimized the possibility that HD 32 might make up for the loss of HD 33. These

actions provide further proof that the State of Texas engaged in intentional vote dilution in

redistricting Nueces County.

   F.        Texas Intentionally Prevented the Emergence of a Hispanic Opportunity District
             in Dallas County

        State officials used race to prevent the natural emergence of a minority opportunity

district in Dallas County. HD 106 elected the Hispanic-preferred candidate of choice in 2006

and 2008. HD 105 came within 20 votes of electing the minority-preferred candidate in 2008.

With the additional minority population growth in the area, state officials realized that the

minority population had a very real possibility of electing its candidate of choice in 2012, and

those officials impermissibly used race to make HD 105 in the 2011 Plan more Anglo.

        1.      Population Change and Election Results

        Between 2000 and 2010, the minority population in Dallas County grew by 28 percent,

while the County’s Anglo population decreased by 20 percent during the same period. US PFOF

¶ 515. Much of this minority growth and Anglo population decline occurred in western Dallas

County, including in HD 105 and HD 106. The Anglo share of the voting-age population (VAP)




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in HD 105 fell over the course of the decade from 53.1 percent to 36.1 percent, 22 but the

minority growth in HD105 offset the loss of Anglo population. US PFOF ¶ 519. The Anglo

share of the VAP in HD 106 similarly fell to 35.9 percent. US PFOF ¶ 520. In that same area of

Dallas County, the Anglo share of the VAP fell to 19.5 percent in HD 104, and was 12.8 percent

in HD 104. US PFOF ¶ 518.

         Minority voters had elected their candidate of choice in 2006 and 2008 in HD 106 in the

2001 map. US PFOF ¶ 522. They had not yet elected their preferred candidate of choice in HD

105 prior to the 2011 redistricting, but the Hispanic-preferred candidate lost the 2008 election

contest by only 20 votes. US PFOF ¶ 521. Moreover, the endogenous elections in HD 105 and

HD 106 show a strong trend toward electing the Hispanic candidate of choice, particularly in

Presidential election years. US PFOF ¶¶ 521-522. In 2008, the Hispanic-preferred candidate was

elected in 7 of 9 statewide election contests in HD 105, and 8 of 9 elections in HD 106. Id. In

HD 103 and HD 104 in the 2001 Plan, the Hispanic-preferred candidate won 100 percent of the

time in both the exogenous and endogenous election contests. US PFOF ¶ 516.

         The 2011 House Plan reversed the demographic shift in HD 105 and HD 106 by

increasing Anglo VAP in HD 105 by five percentage points by stretching the district almost the

entire length of Dallas. US PFOF ¶ 532. This had a corresponding effect in the election

analyses, in which the Hispanic-preferred candidate in HD 105 won zero of 9 statewide election

contests in the recompiled election results for 2008 in the 2011 Plan. Id. HD 106 in the 2011

Plan was in Denton County. US PFOF ¶ 533. Similar to what the legislature did in CD 23 in

2003, when Hispanic voters looked like they might have a chance to elect their candidate of

choice in 2012, the Legislature took that opportunity away. See LULAC v. Perry, 548 U.S. at

22
 CVAP data based on the 2010 Census were not available at the time the House plan was considered.
US PFOF ¶ 519.

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440 (noting that although Hispanic voters had not elected candidate of choice yet, Hispanic

voters were about to do so).

       2.      Legislative Goals Regarding Dallas County

       Dallas County had 16 seats in 2000, but because population in Dallas County had not

grown like other areas of the state, Dallas County had to lose two seats. US PFOF ¶ 523.

Legislators and map drawers initially agreed that two Republican seats would need to be

eliminated because the other six seats were minority opportunity districts under the Voting

Rights Act. Id. It was unlikely that the Dallas County delegation would be able to agree upon a

map given the loss of two seats, and therefore Downton said that he needed to draw the map. Id.

Downton worked with Representative Dan Branch on the shape of the Republican districts. US

PFOF ¶ 525.

       Downton said that he started with the two Hispanic opportunity districts, District 103 and

District 104, to make sure to preserve Hispanic electoral opportunity in those districts. US PFOF

¶ 524. However, he did not base those districts on what the Hispanic incumbents believed was

necessary to ensure that Hispanic voters would continue to enjoy an opportunity to elect their

preferred candidates of choice. At Downton’s request, Representative Anchia of HD 103

provided a map of his ideal district, and while Downton received that proposal, it is not the

district he adopted. Id. Although Representative Alonzo of HD 104 was a member of the House

Redistricting Committee, Downton never met with him or requested information regarding

Representative Alonzo’s ideal configuration for his district. Id.

       The TLC also advised that, if possible, a new minority opportunity district should be

drawn in Dallas County because of the minority population growth. US PFOF ¶ 526. Some

legislators proposed alternative plans, of which Downton was aware, that would have created an



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additional minority opportunity district in the County. US PFOF ¶ 527. The legislature,

however, rejected these plans. Similarly, the United States’s illustrative map in US Exhibit 513

also illustrates that it is possible to create a new minority opportunity district in Dallas.

        3.      Preventing Another District in Dallas County from Providing Minority
                Voters with Electoral Opportunity

        The map drawers had to go to great lengths to prevent the emergence of another district

in Dallas County in which minority voters would have had an opportunity to elect a candidate of

choice. The shapes of the districts in western Dallas County are bizarre. US PFOF ¶ 530. A

narrow land bridge in HD 105 maintains the district’s Anglo population by splitting precincts to

move Anglo voters into the district and to remove Hispanic voters to neighboring districts. US

PFOF ¶ 532. HD 104 wraps around the bottom of HD 105 to take in population on the western

edge of Dallas County. US PFOF ¶ 530.         HD 103 reaches an arm into HD 105 to specifically

remove Hispanic population. US PFOF ¶ 538. The boundary of HD 105 splits 22 precincts and

numerous communities of interest, and the district includes narrow slivers of population that

exclude Hispanic population on either side. US PFOF ¶ 536.

        Downton admits that he used race to draw HD 103, HD 104, and HD 105. US PFOF ¶

539. He excluded Hispanic population from HD 105, and he added it to HD 103 and HD 104.

Id. Downton also admits that he used race and split 22 precincts in order to maximize Anglo

population in HD 105 and maximize Hispanic population HD 103 and HD 104. Id.

        Both HD 103 and HD 104 were safe Hispanic opportunity seats. US PFOF ¶ 516.

Election results, which the map drawers received, would show that Hispanic voters could elect

their candidate of choice in HD 104, even without 50 percent SSVR. The Anglo population in

HD 104 in the 2011 Plan was at 15.2 percent. US PFOF ¶ 534. There was no possibility that the

Anglo population in HD 104 would be able to defeat the Hispanic candidate of choice.

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Consequently, Downton’s actions were not necessary for Voting Rights Act compliance.

        In Dallas County, the populations of HDs 103, 104, and 105 approach the maximum

permitted deviation from the ideal, with HD 103 at precisely 5.0 percent over the ideal district

size. US PFOF ¶ 540. The overpopulation of HDs 103 and 104 allow the districts to be packed

with extra Hispanic voters. Id. Although HD 105 also has a deviation of 4.8 percent above the

ideal, there is nowhere for additional minority population to go. US PFOF ¶ 541. As exhibit

299a shows, HD 103 and HD 104 surround most of HD 105, and they are already overpopulated.

Id. The only other district touching HD 105 is HD 115, which borders HD 105 to the north.

Although HD 115 is not overpopulated, there is little minority population in the northern part of

HD 105. Id. If HD 115 took population from HD 105, it would be overwhelmingly Anglo, and

that would make HD 105 less safe for an Anglo-preferred incumbent. The use of population

deviations in this manner is also a departure from traditional redistricting principles, providing

additional circumstantial evidence of an intent violation under Arlington Heights.

   G.      Texas Intentionally Eliminated a Minority Opportunity District in Harris
           County and Excluded Minority Representatives from the Process

        In Harris County, the 2011 House Plan eliminated a minority opportunity district in

which a cohesive coalition of Hispanic, African-American, and Asian voters had successfully

elected the first Vietnamese American to serve in the Texas Legislature. Texas purposefully

diluted the minority vote in Harris County through a combination of deviation from past practice

under the County Line Rule, refusal to accept TLC advice regarding minority coalition districts,

and overpopulation of majority-minority districts. The configuration of the district in which two

Democratic incumbents were paired to favor the Anglo incumbent, along with deviations from

established procedures and hostile statements in the larger Harris County redistricting process,




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establishes that the purpose of the Harris County map was not solely partisan. Rather, the 2011

House Plan for Harris County had a racially discriminatory intent.

       1.      Diluting the Minority Vote by Removing HD 149 from Harris County

       House District 149, in southwest Harris County, had been crafted in 2001 for Talmadge

Helfin, an Anglo Republican and the chairperson of the House Appropriations Committee. US

PFOF ¶ 566. However, in 2004, the growing minority community that made up the majority of

the district worked together and managed to unseat Heflin and to elect Hubert Vo, the first

Vietnamese American in the Texas House. US PFOF ¶ 567. Heflin tried and failed to regain his

seat in 2006, and Vo successfully defeated other Anglo challengers in 2008 and 2010. US PFOF

¶¶ 569-572. Through the decade, a diverse coalition of African-American, Hispanic, and Asian

American voters developed in southwest Harris County that successfully elected not only

Representative Vo, but also members of the Houston city council and the Alief Independent

School District school board. US PFOF ¶¶ 575-576. Therefore, HD 149 provided a cohesive

coalition of minority voters with a demonstrated opportunity to elect their preferred candidate of

choice. US PFOF ¶ 567, 574-577.

       With Anglo voters having lost electoral control over HD 149, the 2011 House Plan

simply eliminated the district from Harris County and moved it to Williamson County, a

predominantly Anglo area where minority voters would not have the opportunity to elect their

preferred candidate. US PFOF ¶ 578. In order to remove HD 149 from Harris County, the 2011

House Plan deviated from past practice under the Texas County Line Rule. In the past, the

number of districts in Harris County—the largest county in the state and one of the most

diverse—had been determined by dividing its total population by the population of an ideal-sized

district and rounding up, even when the remaining fraction was less than half of a district. US



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PFOF ¶ 547-550. In fact, Chairperson Solomons announced on the House floor that this

procedure would be followed again in 2011 by apportioning 25 districts to Harris County. US

PFOF ¶ 545. However, the statewide plan proposed by Chairperson Solomons and the final

2011 House Plan allotted only 24 districts to Harris County, leaving an additional district to be

apportioned among slower-growing, predominantly Anglo areas of the state. US PFOF ¶ 552.

       David Hanna of the TLC warned House leadership that a functioning minority coalition

district such as HD 149 was protected by the Voting Rights Act and could not be eliminated, but

House leadership did not heed his advice. US PFOF ¶¶ 321, 580; see also LULAC v. Clements,

999 F.2d at 864; Campos v. City of Baytown, 840 F.2d 1240, 1244 (5th Cir. 1988). Faced with

redistributing the majority-minority population of HD 149, the Harris County map systematically

overpopulated minority opportunity districts, leaving the Anglo community in control of a

disproportionate number of districts. US PFOF ¶ 562. This ensured that the intentional

reduction in the number of minority opportunity districts in Harris County would be successful,

minimizing the chance that another district designed for Anglo control would eventually provide

minority voters with an opportunity to elect their preferred candidates. US PFOF ¶¶ 553-554,

562. In sum, these actions constitute prohibited intentional discrimination. See Bartlett, 556

U.S. at 24 (barring intentional elimination of minority voting opportunities even when a single

minority group is not a population majority).

       The 2011 House Plan paired Representative Vo with Representative Scott Hochberg, a

senior Anglo Democrat, in Representative Hochberg’s HD 137. US PFOF ¶ 579. This district

appeared to have been drawn to favor Representative Hochberg by incorporating a far greater

portion of his former district and by dividing or excluding Representative Vo’s core Asian

American constituency. US PFOF ¶ 581. Moreover, Anglo Republicans who had greater



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control over the redistricting process suggested to Representative Hochberg that he would be

reelected from HD 137 in the 2011 House Plan. US PFOF ¶ 582. This deviated strongly from

the partisan tactics applied in prior redistricting plans, in which senior Democrats had been

specifically targeted, even if the Democrats were Anglo. US PFOF ¶¶ 583-584. Thus, it cannot

be said that the contours of the 2011 House Plan in Harris County followed only a partisan

purpose.

       2.      The Redistricting Process in Harris County Reinforces the Role of Race

       In Harris County, the redistricting process deviated from statewide procedures, excluded

minority legislators from meaningful decisions, and emphasized the role of race in protecting

Anglo control from growing minority voting strength. Although both Anglo and minority

legislators initially worked together to develop a 25-district consensus plan under the “member-

driven” framework, Representative Beverly Woolley—an Anglo Republican and Speaker Pro

Tem—began working on a 24-district plan without informing minority legislators that she was

doing so, let alone seeking their input. US PFPF ¶¶ 544, 553, 555, 561. Representative

Woolley’s focus on race and the preservation of Anglo voting strength is made clear by a

RedAppl plan log that notes changes to make her district more Anglo. US PFOF ¶ 554. When

the Woolley plan was unveiled as the final plan for Harris County, Representative Woolley

justified the exclusion of minority legislators—not merely Democrats—from the process by

saying, “Y’all are protected by the Voting Rights Act and we are not.” US PFOF ¶¶ 555, 557.

Rather than recognize the concerns of minority legislators who had been excluded from the

process, she set out to punish Representative Coleman for challenging her authority and filed an

amendment to her own map that gutted Representative Coleman’s district, removing his district

office and many prominent features. US PFOF ¶ 558. Representative Woolley’s RedAppl plan



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log makes the spiteful nature of the amendment clear by labeling the amendment as “The new

final amendment changes … LOL.” US PFOF ¶ 559.

        While minority representatives in Harris County were eventually permitted to limit the

manipulation of their districts by the Anglo members of the Harris County delegation, they were

given strict limitations. Specifically, they were not permitted to make any change that affected a

district in which the incumbent was an Anglo Republican. US PFOF ¶ 560. Although this

allowed minority members of the Harris County delegation to undo changes to their districts

made only for malice, it also ensured the principal aim of the Harris County portion of the 2011

House Plan would remain in place: to dilute minority voting strength in the largest county in

Texas. US PFOF ¶¶ 556-557, 560, 563, 579-580.

   H.      The Legislative Process Excluded Minority-Preferred Legislators and Deviated
           from Established Procedures

        The legislative process leading to the enactment of the 2011 House Plan excluded

minority-preferred legislators from key components of the legislative process, deviated from

established procedures to limit meaningful input from minority legislators, and ultimately passed

with negligible minority support. Development of the 2011 Plan began with the superficial 2010

field hearings, described above. See supra Section VI.F. Following organization of the 2011

House Redistricting Committee, Chairperson Solomons declared that the House redistricting

would be a “member-driven” process. US PFOF ¶ 331. As the district-based analysis above

demonstrates, however, this principle yielded to the desires of Anglo-preferred incumbents

whenever conflict occurred. See supra Sections VII.B, VII.D, VII.G; see also US PFOF ¶ 333.

Even in Tarrant County, where the county delegation reached a consensus, House leadership

redrew the boundaries of the county’s sole African-American opportunity district to divide

minority communities. US PFOF ¶¶ 317-318. Moreover, throughout the redistricting process,


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Anglo legislators had access to substantial resources unavailable to their minority counterparts,

including Voting Rights Act analyses by the OAG and state-funded outside counsel, allowing

Anglo leadership to drive the process effectively and exclusively. US PFOF ¶ 328.

       Through the development of a complete statewide proposal, House Redistricting

Chairperson Burt Solomons and his staff intentionally ignored the requirements of the Voting

Rights Act, either disregarding advice provided by the TLC or seeking outside counsel to

overrule the State’s in-house specialists. The House Redistricting Committee never announced

how it would determine whether a district was a minority opportunity district under the Voting

Rights Act, and it never even compiled a list of existing minority opportunity districts for

internal use. US PFOF ¶ 320. The TLC advised House leadership that the Voting Rights Act

required analysis based on election results—rather than simple demographics—in order to

determine minority electoral opportunity and that the Voting Rights Act must preempt

redistricting requirements imposed by state law. US PFOF ¶¶ 321, 479.

       Instead, the House Redistricting Committee decided that a demographic analysis gave it a

“green light” to go forward with a statewide map that eliminated minority electoral opportunity

districts, and Chairperson Solomons declared on the House floor that he would not allow the

Voting Rights Act to trump the Texas County Line Rule unless the U.S. Supreme Court took up

the issue. US PFOF ¶ 649. While House leadership addressed some Voting Rights Act issues

raised in a series of memoranda by Hanna, it left other issues flagged by Hanna unresolved and

specifically sought outside counsel for advice to overrule Hanna in areas such as the legal

implications of minority coalition districts. US PFOF ¶¶ 324-325. On the House floor,

Chairperson Solomons would eventually announce a bright-line threshold of 50.1 percent SSVR

to determine the presence or absence of Hispanic electoral opportunity under the Voting Rights



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Act, a standard that Hanna acknowledged was “phony.” US PFOF ¶ 326. 23 However, the first

statewide redistricting plan developed and released by Chairperson Solomons violated even this

purported SSVR standard. US PFOF ¶ 326.

         House leadership also did not share with minority legislators any of the critical Voting

Rights Act analysis that it received while developing the Chairman’s initial statewide proposal.

None of the Hanna memos were ever released to minority legislators, even though they pointed

to legal problems that persisted in the map that Chairman Solomons released to the House

Redistricting Committee. US PFOF ¶¶ 325, 332. Moreover, minority legislators were not made

aware that the OAG had developed complex quantitative analysis of racially polarized voting.

US PFOF ¶¶ 322, 328-329. Critically, minority legislators did not receive assessments of the

success of Hispanic-preferred candidates that the OAG had prepared for purposes of gauging

whether the redistricting plans complied with the Voting Rights Act. Notably, the OAG

assessments confirmed that the State’s proposed maps decreased Hispanic electoral

opportunities. US PFOF ¶ 323.

         Once Chairperson Solomons had developed a statewide redistricting plan, he limited

minority legislators’ ability to modify that plan prior to passage. Minority legislators did not

have a chance to review a statewide map until after Chairperson Solomons released his proposal

to the public, which led to surprises for several minority representatives whose districts had been

altered substantially or eliminated. US PFOF ¶ 338. On the date that he released his statewide

proposal, Chairperson Solomons announced that the first public hearing would occur two days

later and that the second and final public hearing would occur only four days later. This required

waiver of Texas’s five-day posting rule for every hearing regarding the House redistricting,

23
  In commenting on Texas’s draft of its Section 5 submission to the Department of Justice, Hanna noted
that the demographic 50.1 percent cutoff was not the standard, and he labeled it “phony.”

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which is a rarity for a major bill. US PFOF ¶¶ 338-339. These hearings occurred on a Friday

and on Palm Sunday, when the Texas legislature does not ordinarily conduct public hearings.

US PFOF ¶¶ 340-344. Moreover, some minority legislators, who had no role in the crafting of

their districts, were allowed only to make limited cosmetic changes to their boundaries as long as

it did not affect Anglo-controlled districts. US PFOF ¶¶ 348-349.

       While no two redistricting processes are precisely the same, the 2011 House redistricting

process intentionally ignored standards under the Voting Rights Act and deviated below the

minimal opportunities for minority input afforded in past Texas redistricting efforts (even though

those processes had also yielded discriminatory plans). See supra Part III. Hanna warned House

leadership that the process designed by Chairperson Solomons and his staff did not afford

sufficient opportunities for minority input, but those concerns—like so many others—were

ignored. US PFOF ¶¶ 335-337.

                                             *****

       In sum, the 2011 House Plan purposefully eliminated minority electoral opportunity in

four districts, Districts 33, 35, 117, and 149, and deliberately minimized minority opportunity in

District 41, possibly eliminating it entirely. Moreover, the 2011 House Plan intentionally denied

growing minority communities in the Rio Grande Valley and El Paso County additional electoral

opportunities that would reflect their increased population. Finally, the 2011 House Plan took

away a potential electoral opportunity from a growing minority community in western Dallas

County because minority voters “were about to exercise it.” LULAC v. Perry, 548 U.S. at 440.

Direct and circumstantial evidence establishes that this minority vote dilution was intentional.

House leadership ignored Voting Rights Act guidance provided by the TLC and the Office of the

Texas Attorney General and gave lesser priority to the rights of minority voters than to the



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protection of incumbents. Map drawers divided precincts along racial lines, in the absence of

partisan data, in order to exclude minority voters from the districts of Anglo-preferred

incumbents. Finally, the Texas House voted as a body to enact the 2011 House Plan over nearly

united opposition by minority-preferred legislators and gave little credence to the concerns

expressed by representatives of minority communities. Notwithstanding the presence of partisan

motives, the evidence has established that at least one of the purposes of the 2011 House Plan

was to dilute the voting strength of minority communities. This discriminatory intent violates

Section 2 of the Voting Rights Act. See, e.g., Brown, 561 F.3d at 433.

VIII. THE TOTATLITY OF THE CIRCUMSTANCES SUPPORTS A FINDING OF
      DISCRIMINATORY PURPOSE

        The evidentiary factors ordinarily used to assess the totality of circumstances in a

discriminatory effect claim under Section 2 of the Voting Rights Act—the “Senate Factors”

described above in Part III.B—are also probative of a discriminatory purpose. Rogers, 458 U.S.

at 620-22; Brown, 561 F.3d 433. Here, the most relevant evidence pertains to Senate Factors 1

(history of official discrimination), 2 (extent of racially polarized voting), 3 (voting practices that

enhance the opportunity for discrimination), 5 (effect of socioeconomic disparities), and 7

(election of minorities to public office). An assessment of these factors supports a finding that

Texas’s 2011 Congressional and House plans were adopted with a discriminatory purpose.

   A.      Texas Has a Long and Persistent History of Voting-Related Discrimination

        To satisfy the first Senate factor, Plaintiffs need to show a history of official

discrimination that “touched” a minority group’s voting rights or otherwise affected its members’

ability to participate in the democratic process. Gingles, 478 U.S. at 36-37 (quoting S. Rep. No.

97-417 at 28-29). Texas has a long history of voting-related discrimination that stretches back to

Reconstruction and persists today. US PFOF ¶ 588. Texas has used a variety of tactics to


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exclude minority voters newly enfranchised by the Fifteenth Amendment from exercising their

rights, including all-white primaries, poll taxes, secret ballots, and re-registration requirements.

US PFOF ¶¶ 589, 591-594. Federal intervention ended each of these discriminatory tactics, but

Texas persisted. US PFOF ¶ 590.

        Even after Texas became covered under Section 5 of the Voting Rights Act, the

intentional discrimination against minority voters continued. In every redistricting cycle since

the 1970s, the Attorney General has objected to all or part of the state’s Congressional or House

redistricting plans. See supra Part III; US PFOF ¶¶ 595, 598-560. Texas has also been subject to

a series of judicial decisions invalidating all or part of its proposed Congressional and House

redistricting plans. US PFOF ¶ 595. Still, Texas persists. Its more recent discriminatory acts

have been more subtle but no less intentional. See Veasey, 2014 WL 5090258, at *20, *52-55,

n.504, n.529; LULAC v. Perry, 548 at 440. Texas’s repeated attempts to prevent minority

citizens from participating effectively in the political process have enduring effects that in part

account for the disparate turnout rates of Anglo and minority voters today. US PFOF ¶¶ 595-603.

The 2011 Congressional and House redistricting plans must be considered in the context of this

robust history of voting discrimination against racial minorities. See Rogers, 458 U.S. at 624-25

(holding that evidence of past discrimination is relevant to drawing an inference of purposeful

discrimination); City of Rome v. United States, 446 U.S. 156, 177 (1980) (“[E]lectoral changes

by jurisdictions with a demonstrable history of intentional racial discrimination in voting create

the risk of purposeful discrimination.”).

   B.      Voting in Texas Is Racially Polarized.

        Senate factor two addresses whether voting is racially polarized. Gingles, 478 U.S. at 37

(quoting S. Rep. No. 97-417 at 28-29). Racially polarized voting is a practical inquiry into

whether racial voting patterns impede the election of minority-preferred candidates. Voting
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patterns need not be extreme to be racially polarized. Clark v. Calhoun Cnty., Miss., 88 F.3d

1393, 1397 (5th Cir. 1996) (citing 71.6 percent cohesive voting by Black voters); Westwego

Citizens for Better Gov’t v. City of Westwego, 946 F.2d 1109, 1119 (5th Cir. 1991) (reversing

district court’s finding of no polarized voting and pointing to election in which 89percent of the

city’s black voters cast ballots for the black candidate and 84 percent of the city’s white voters

did not).

        Many courts, including the United States Supreme Court, have repeatedly and

consistently found that, in Texas, voting is polarized between African-Americans and Anglos

and between Hispanics and Anglos. US PFOF ¶ 606. Indeed, analyses conducted in 2011 by the

State through the Office of the Attorney General documented racially polarized voting patterns

in statewide elections from 2002 to 2010, see US PFOF ¶ 607, and State Defendants have

conceded that, as a general matter, racially polarized voting persists in the state. Trial Tr.

114:18-115:17, July 29, 2014. Moreover, statistical evidence presented by expert witnesses and

anecdotal evidence provided by lay witnesses establish that there is persistent racially polarized

voting in Texas. US PFOF ¶ 608. It is against this backdrop of racially polarized voting that this

Court must consider Texas’s actions to dilute minority voting strength in 2011.

   C.       Texas Has Used Voting Practices or Procedures that Enhanced Minority Vote
            Dilution

        The third Senate factor requires a showing that Texas has used voting practices or

procedures that enhance the opportunity for discrimination against a minority group. Gingles,

478 U.S. at 36-37 (quoting S. Rep. No. 97-417 at 28-29). “Texas has a long, well-documented

history of discrimination that has touched upon the rights of African-Americans and Hispanics to

register, to vote, or to participate otherwise in the electoral process.” Vera v. Richards, 861 F.

Supp. 1304, 1317 (S.D. Tex. 1994), aff’d sub nom. Bush v. Vera, 517 U.S. 952 (1996). The


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State’s prior use of discriminatory voting practices or procedures, including in the redistricting

context, is fully outlined in supra Part III. See also US PFOF ¶ 597-603. The prior use of such

practices (and the court rulings against them) support a finding that the novel techniques used in

2011, such as the nudge factor, are also intentionally discriminatory.

    D.      Socioeconomic Disparities Hinder the Ability of African-Americans and
            Hispanics in Texas to Participate Effectively in the Political Process

         Senate factor five assesses the extent to which minority group members bear the effects

of discrimination in such areas as education, employment, and health, which hinder their ability

to participate effectively in the political process. Gingles, 478 U.S. at 36-37 (quoting S. Rep. No.

97-417 at 28-29). “[C]ourts have recognized that disproportionate educational, employment,

income level and living conditions arising from past discrimination tend to depress minority

political participation . . . [Therefore,] plaintiffs need not prove any further causal nexus between

their disparate socio-economic status and the depressed level of political participation.” S. Rep.

at 29 n. 114 (citing White v. Regester, 412 U.S. 755, 768 (1973)); see also Teague v. Attala Cnty.

92 F.3d 283, 294 (5th Cir. 1996) (stating that once proven, evidence of socioeconomic disparities

argues against the assertion that minority voter apathy is the reason for generally lower minority

political participation).

         According to 2010-2012 American Community Survey (ACS) data, Blacks and

Hispanics in Texas experience poverty at roughly three times the rates of Anglos, and Anglo

median per capita income is approximately double Black and Hispanic median income levels.

US PFOF ¶ 613; see also, ECF No. 1085 at 5-6 (Mot. for Judicial Notice). Blacks and Hispanics

in Texas are also far more likely than Anglos to be unemployed and to lack a high school

diploma. US PFOF ¶¶ 617-621. Likewise, Blacks and Hispanics are roughly three times more

likely to receive Supplemental Nutrition Assistance Program (SNAP) benefits than Anglos. US


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PFOF ¶ 615. Overall, minority groups in Texas continue to suffer from wide disparities in

education, employment, income, and a number of other areas, which have been the natural result

of long and systemic racial discrimination. See Veasey, 2014 WL 5090258, at *4 (stating that

“the racial disparities in education, employment, housing, and transportation are the natural

result of long and systematic racial discrimination” in Texas). Each of these disparaties has been

shown to decrease the ability of these groups to participate in the political process. US PFOF ¶¶

624-625.

   E.      African-Americans and Hispanics in Texas Are Underrepresented in Public
           Office

        The seventh Senate factor examines the extent to which members of minority groups

have been elected to public office. As outlined above, with very few exceptions,

Texas has created new minority opportunity districts only after involvement by the United States

Attorney General or a federal court. US PFOF ¶ 594-598. As a result, significant disparities

persist in Texas between minority population and representation in Congress and in the State

House. While Hispanics make up approximately 30.3 percent of the citizen population of Texas

and African-Americans make up 13.3 percent, at the start of the 2013 legislative session,

Hispanics held 21.1 percent of Texas House and Senate seats and African-Americans held 11.1

percent of those seats. US PFOF ¶ 629. Indeed, African-American and Hispanic

underrepresentation exists across federal, state, and local offices. A 2000 analysis of these

offices found that only 1.7 percent of Texas elected officials were African-American. Id. A

similar analysis of Hispanics in 2003 found that they comprise approximately 7.1 percent of

Texas elected officials. Id.

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           The totality of the circumstances supports a finding that Texas’s 2011 Congressional and

House plans were enacted with a discriminatory purpose. Texas has a long history of

discrimination against minority citizens in voting, consistently adopting practices that undermine

African American and Hispanic electoral strength. The State’s targeted efforts at vote dilution

have been all the more effective due to stark disparities between minorities and Anglos in

income, education, housing, and transportation—disparities that are themselves partly the

product of official discrimination. The result has been low minority turnout, which, when

combined with racially polarized voting, has left the state’s minorities underrepresented in its

legislature and in Congress. This background illuminates the motivation behind Texas’s latest

post-Census redistrictings. The Senate Factors evidence, along with the other direct and

circumstantial evidence presented in this case, indicates that Texas again attempted to weaken

minority electoral ability with the 2011 plans.

IX.        THE STATE’S ASSERTED DEFENSES ARE MERITLESS

           The State of Texas has asserted three primary defenses to the United States’ claims.

First, Texas contends that intentional vote dilution cannot be found where the State’s principal

purpose is partisanship. Second, the State argues that no vote dilution occurs so long as the

districts at issue remained majority minority. Third, Texas claims that the Voting Rights Act

affords no protection to minority voters who do not reside in districts in which a single minority

group makes up a majority of eligible voters. For the reasons that follow, the State’s asserted

defenses are meritless.

      A.      Partisanship Is Not a Defense to Intentional Vote Dilution

           Texas cannot defend the 2011 Congressional Plan and 2011 House Plan as driven by

partisanship. Partisanship is not a legal defense to intentional race-based vote dilution, as

legislators may not purposefully dismantle minority opportunity districts merely to fulfill

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partisan objectives. Intentional racial discrimination is intentional racial discrimination,

regardless of its ultimate objective. Moreover, because of analytical distinctions between an

intentional vote dilution claim and an Equal Protection claim under Shaw v. Reno, 509 U.S. 630

(1993), the partisanship defense available to a Shaw claim does not apply here. Therefore, the

State’s assertions regarding partisanship do not insulate it from a finding of intentional

discrimination.

         1.     Incumbency Protection May Give Rise to Intentional Vote Dilution

         The use of intentional race discrimination to achieve a majority for a particular political

party will “give rise to an equal protection violation.” LULAC v. Perry, 548 U.S. at 440. This is

because “‘[r]acial discrimination need only be one purpose, and not even a primary purpose, of

an official act’” to violate Section 2. Brown, 561 F.3d at 433 (quoting Velasquez v. City of

Abilene, 725 F.2d 1017, 1022 (5th Cir. 1984)); see also Arlington Heights, 429 U.S. at 265-66

(requiring only a showing that “discriminatory purpose has been a motivating factor in the

decision” (emphasis added)). Thus, numerous courts have held that “[i]f . . . in order to protect

incumbents of whatever race [a] redistricting authority deliberately adopted devices for limiting

[minority] representation . . . , they would be engaged in deliberate racial discrimination.”

Barnett v. Daley, 32 F.3d 1196, 1199 (7th Cir. 1994); see also Garza, 918 F.2d at 771 (upholding

a finding of discriminatory intent where incumbents “chose fragmentation of the Hispanic voting

population as the avenue by which to achieve . . . self-preservation”); Ketchum v. Byrne, 740

F.2d 1398, 1408 (7th Cir. 1984) (upholding a finding of discriminatory intent where “racial

discrimination was the necessary accompaniment of the action taken to protect incumbencies”). 24


24
  See also Rybicki v. State Bd. of Elections, 574 F. Supp. 1082, 1109 (N.D. Ill. 1982) (three-judge panel)
(holding that the evidence showed that “the requirements of incumbency [were] so closely intertwined
with the need for racial dilution that an intent to maintain a safe, primarily white, district . . . [was]
virtually coterminous with a purpose to practice racial discrimination”); Armour v. Ohio, 775 F. Supp.
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        The Supreme Court already warned Texas in LULAC v. Perry against using racial vote

dilution to partisan ends, explaining that incumbency protection cannot justify “act[ing] against

those Latinos who were becoming most politically active.” 548 U.S. at 440. In 2003, Texas

redrew Congressional District 23 in response to growing Latino voter participation that

threatened a Republican congressman’s incumbency. See id. at 438-39. Legislators “divided the

cohesive Latino community” by moving some Latinos into what was already a Latino

opportunity district and leaving those that remained with “little hope of electing a candidate of

their choice.” Id. at 439. As the Court noted, “the State took away the Latinos’ opportunity

because Latinos were about to exercise it.” Id. at 440. Thus, even if the State’s primary purpose

is political, its use of race “bears the mark of intentional discrimination that could give rise to an

equal protection violation.” Id.

        As Judge Kozinski of the Ninth Circuit has explained by way of analogy in another case

alleging intentional vote dilution, such purposeful discrimination may occur even in the absence

of animus:

                Assume you are an [A]nglo homeowner who lives in an all-white
                neighborhood. Suppose, also, that you harbor no ill feelings toward
                minorities. Suppose further, however, that some of your neighbors
                persuade you that having an integrated neighborhood would lower
                property values and that you stand to lose a lot of money on your
                home. On the basis of that belief, you join a pact not to sell your
                house to minorities. Have you engaged in intentional racial and
                ethnic discrimination? Of course you have. Your personal
                feelings toward minorities don’t matter; what matters is that you
                intentionally took actions calculated to keep them out of your
                neighborhood.



1044, 1061 (N.D. Ohio 1991) (three-judge panel) (noting that, “[a]lthough courts are reluctant to provide
relief on claims that a district has been gerrymandered to protect an incumbent’s seat, this rule does not
hold when the manipulations were conducted on a race-conscious basis,” and finding a discriminatory
intent where redistricting “was intended to split the black community in order to dilute the potential
effectiveness of the black vote, to the obvious benefit of the incumbents”) (citations omitted).

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Garza, 918 F.2d at 778 n.1 (Kozinski, J., concurring in relevant part). Thus, even if the

underlying motive for Texas’s intentional discrimination was driven by partisanship rather than

racial animus, that intentional discrimination nonetheless violated the Voting Rights Act.

       2.      Shaw Claims Are Analytically Distinct from Intentional Vote Dilution

       Texas has incorrectly argued that Hunt v. Cromartie, 526 U.S. 541 (1999) (“Cromartie

I”), a decision from the line of cases beginning with Shaw v. Reno, 509 U.S. 630 (1993),

establishes a partisanship defense to a claim of intentional vote dilution. The State’s reliance on

Cromartie I is misplaced. A Shaw claim and an intentional vote dilution claim are “analytically

distinct.” Shaw, 509 U.S. at 652. In a Shaw claim, consideration of race is not unlawful if other

race-neutral principles (such as partisanship) predominate in the drawing of a district. But that

standard does not apply to intentional vote dilution claims because race need only be “a

motivating factor” to establish purposeful discrimination. Arlington Heights, 429 U.S. at 265-66.

       Intentional vote dilution—the United States’ claim in this case—occurs when “the State

has enacted a particular voting scheme as a purposeful device ‘to minimize or cancel out the

voting potential of racial or ethnic minorities,’ an action disadvantaging voters of a particular

race.” Miller v. Johnson, 515 U.S. 900, 911 (1995) (quoting City of Mobile v. Bolden, 446 U.S.

55, 66 (1980)). The manipulation of district lines to dilute minority voting strength is no less

intentional or harmful to minority voters simply because it benefits a party and its incumbents.

Cf. Garza, 918 F.2d at 778 & n.1 (Kozinski, J., concurring in relevant part). If a growing

minority population has a tendency to vote in opposition to the party controlling the redistricting

process, the controlling party may logically conclude that diminishing the voting strength of

minority voters will benefit its partisan interests and protect its incumbents. That is precisely

what happened when Texas drew Congressional District 23 in 2003 and what occurred yet again



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during the 2011 redistricting. In holding that the 2003 version of CD 23 violated Section 2, the

Supreme Court in LULAC v. Perry emphasized that the State’s intent to dilute Hispanics’ voting

strength in order to achieve an overarching partisan goal “bears the mark of intentional

discrimination that could give rise to an equal protection violation.” 548 U.S. at 440. The same

conclusion applies here.

       By contrast, “Shaw recognized a claim ‘analytically distinct’ from a vote dilution claim.”

Miller, 515 U.S. at 911. “[T]he essence of the equal protection claim recognized in Shaw is that

the State has used race as a basis for separating voters into districts,” id., without a compelling

justification, Cromartie I, 526 U.S. at 543. In contrast to a vote dilution case, a Shaw case does

not require allegations that officials tried to diminish the voting strength of any racial or ethnic

group. Rather, the alleged injury in a Shaw claim is the racial segregation itself, which according

to the Supreme Court, “reinforces racial stereotypes and threatens to undermine our system of

representative democracy by signaling to elected officials that they represent a particular racial

group rather than their constituency as a whole.” Shaw, 509 U.S. at 650, 657; accord Miller, 515

U.S. at 911-912, 914, 928.

       The appropriate legal standard therefore differs significantly depending on whether a

plaintiff is alleging intentional vote dilution (as the United States is here) or basing its claim on a

Shaw theory. As previously noted, in claims of intentional vote dilution, “[r]acial discrimination

need only be one purpose, and not even a primary purpose” of the State’s decisionmaking.

Brown, 561 F.3d at 433; see also Arlington Heights, 429 U.S. at 265-66. Thus, partisanship and

intentional vote dilution are not an either/or proposition; the two goals can co-exist, one serving

the other. Shaw claims, by contrast, require proof that “race was the predominant factor

motivating the legislature’s decision to place a significant number of voters within or without a



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particular district.” Miller, 515 U.S. at 916. In other words, unlike a case challenging vote

dilution, it is not sufficient in a Shaw claim to prove that race was simply “a motivation for the

drawing” of a challenged district. Easley v. Cromartie, 532 U.S. 234, 241 (2001) (Cromartie II)

(quoting Bush v. Vera, 517 U.S. 952, 959 (1996) (plurality op.)). Rather, to prevail on a Shaw

claim, “a plaintiff must prove that the legislature subordinated traditional race-neutral districting

principles, including but not limited to compactness, contiguity, and respect for political

subdivisions or communities defined by actual shared interests, to racial considerations.” Miller,

515 U.S. at 916. For purposes of Shaw claims, one such race-neutral factor is partisanship. See

Cromartie I, 526 U.S. at 551-53; Cromartie II, 532 U.S. at 241-43, 257-58.

         The key point here, which is fatal to the State’s argument, is that the United States is not

basing its claim on a Shaw theory. To prevail on its intentional vote dilution claim, the United

States need only show that race was a factor in the State’s redistricting, not that it was the sole or

even primary purpose. As long as the United States makes this showing—and it has—the

possible existence of other motives, including partisanship, does not immunize the State from

liability for intentional vote dilution.

    B.      Opportunity to Elect a Preferred Candidate Is Defined by Electoral Outcomes,
            Not Demographic Concentrations

         Throughout the redistricting process and in this litigation, the State has incorrectly

claimed that minority voters have the opportunity to elect their preferred candidate of choice in

any district where minority citizens make up a majority of eligible voters. However, the

opportunity to elect is defined by actual opportunity, rather than a simple demographic majority.

See, e.g., LULAC v. Perry, 548 U.S. at 428. Although several districts in the 2011 Congressional

and House plans had marginal majorities of voters with Spanish surnames, Hispanic voters in

some of these districts lacked a practical opportunity to elect their candidates of choice. See


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supra Sections VI.B, VII.B, VII.C, VII.D. Indeed, this was by design. Therefore, the

preservation of population majorities also does not provide a defense to claims of intentional

vote dilution.

       Population majorities may be used merely “to create the facade of a Latino district” that

was actually designed “to protect [an incumbent] from a constituency that was increasingly

voting against him.” LULAC v. Perry, 548 U.S. at 440-41. Aware of this potential, the Fifth

Circuit has “consistently recognized that ‘access to the political process and not population is the

barometer of dilution of voting strength.’” Kirksey v. Bd. of Supervisors, 554 F.2d 139, 150 (5th

Cir. 1977) (en banc) (quoting Bradas v. Rapides Parish Police Jury, 508 F.2d 1109, 1112 (5th

Cir. 1975)), other aspect superseded by statute as recognized in LULAC v. Clements, 999 F.2d

831, 866-67 (5th Cir. 1993) (en banc). That is because “it may be possible for a citizen voting-

age majority to lack real electoral opportunity.” LULAC v. Perry, 548 U.S. at 428; see also

Voinovich v. Quilter, 407 U.S. 146, 158 (1993) (noting that the Gingles requirements “cannot be

applied mechanically and without regard to the nature of the claim”); Major v. Treen, 574 F.

Supp. 325, 339 (E.D. La. 1983) (three-judge court) (recognizing that under certain circumstances

“a 50/50 ratio of black to white population gives rise to a safe white district”). Minority voters

may participate in elections at lower rates than Anglo voters due to depressed socioeconomic

status and other lingering effects of discrimination, and a determination of minority opportunity

must take this into account. See Teague v. Attala Cnty., 92 F.3d 283, 294-95 (5th Cir. 1996);

Kirksey, 554 F.2d at 145; see also United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1563

(11th Cir. 1984) (Wisdom, J.) (holding attribution of the lack of black electoral success to

“failure of the blacks to turn out” to be “based on a misconception of law” and “clearly

erroneous”).



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       The absence of real electoral opportunity for Hispanic voters in Congressional District

23, House Districts 35 and 117, and possibly House District 41 in the 2011 Congressional and

2011 House plans establishes precisely why population statistics standing alone cannot be used

to assess vote dilution claims. House District 117 was drawn with precisely 50.1 percent SSVR

in the 2011 House Plan, and reconstituted election analysis establishes that it would not have

provided Hispanic voters with the opportunity to elect their preferred candidates of choice. See

supra Section VII.B. Similarly, Congressional District 23 and House District 35 were drawn

with marginal SSVR majorities of 54.5 percent and 53.4 percent respectively, but neither

provided an electoral opportunity for Hispanic voters. See supra Sections VI.B & VII.C.

Finally, House District 41 had an SSVR majority of 62.1 percent, and it cannot be determined

whether Hispanic voters would have had an opportunity to elect their preferred candidates there,

due to the large number of precincts split along racial lines on the boundary of the district. See

supra Section VII.D.

       Texas’s own actions belie its claim that a bare 50.1 percent majority of minority voters is

sufficient to establish electoral opportunity. In both the 2011 Congressional plan and the 2011

House plan, the State publicly presented population statistics while privately scrutinizing

analysis of the likely electoral success of Hispanic-preferred candidates. See supra Sections

V.A, VI.B, VII.H. Not only did the State create districts with only the superficial appearance of

Hispanic electoral opportunity, it also took deliberate steps to ensure that those very districts

were not opportunity districts. In fact, by applying electoral analysis to reduce the electoral

prospects of Hispanic-preferred candidates in majority-Hispanic districts, Texas set out to place

as many Hispanic voters as possible in districts that would not provide them with an electoral

opportunity, sapping Hispanic voting strength across the State. See Moore v. Leflore Cnty. Bd. of



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Educ., 502 F.2d 621, 624 (5th Cir. 1974) (holding that slim population and registered voter

majorities “enhanced the possibility of continued black political impotence”); see also Busbee v.

Smith, 549 F. Supp. 495, 498-99 (D.D.C. 1982) (three-judge court), aff’d, 103 S. Ct. 809 (1983)

(finding intentional discrimination in the creation of a district that, although it had both a

majority black population and a majority black voting-age population, would not afford black

voters with the opportunity to elect their preferred candidate). And again, the evidence shows

that the State knew exactly what it was doing: it advanced a superficial demographic

measurement of Hispanic opportunity, disregarding Hanna’s legal advice and further evincing

that the resulting vote dilution was deliberate. See supra Section VII.H.

   C.        The Voting Rights Act Protects Minority Voters Who Live Outside of Single-
             Minority Majority Districts

        The State of Texas has claimed that minority citizens who reside in communities in

which no single minority group makes up a majority of eligible voters receive no protection

under the Voting Rights Act. Contrary to the State’s position, deliberate elimination of minority

electoral opportunity achieved by a cohesive coalition of minority voters violates the prohibition

on intentional discrimination under Section 2 of the Voting Rights Act. Cf. Bartlett, 556 U.S. at

24. Nor may a jurisdiction intentionally minimize electoral opportunities for minority voters,

regardless of whether those voters reside in an opportunity district or could be drawn into a

single-minority majority district. See, e.g., Garza, 918 F.2d at 771.

        1.      Section 2 Protects Coalition Districts from Intentional Vote Dilution

        Texas has claimed that the Voting Rights Act did not bar the State from dismantling

House District 149, in which no single minority group made up a majority of eligible voters.

Under certain circumstances, Section 2 of the Voting Rights Act requires the drawing of

“coalition districts” in which two or more racial-minority groups together form a numerical


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majority. See LULAC v. Clements, 999 F.2d 831, 864 (5th Cir. 1993) (en banc); Campos v. City

of Baytown, 840 F.2d 1240, 1244 (5th Cir. 1988). 25 In LULAC v. Clements, the Fifth Circuit

sitting en banc made clear that “if blacks and Hispanics vote cohesively, they are legally a single

minority group, and elections with a candidate from this single minority group are elections with

a viable minority candidate.” 999 F.2d at 864; see also Campos, 840 F.2d at 1244 (holding that a

claim brought by a cohesive coalition of minority voters is analytically indistinct from a claim

brought by single minority group). Thus, after a factual finding that a coalition of minority

voters is politically cohesive, “nothing in the law . . . prevents the plaintiffs from identifying the

protected aggrieved minority to include” minority voters of multiple races. Campos, 840 F.2d at

1244; cf. Large v. Fremont Cnty., 709 F. Supp. 2d 1176, 1195-1202 (D. Wyo. 2010), remedy

aff’d, 670 F.3d 1133 (10th Cir. 2012) (finding Native American voters to be cohesive

notwithstanding division into two tribes).

         In turn, Bartlett v. Strickland, 556 U.S. 1 (2009), guarantees that voters in any type of

district—including a minority coalition district—are protected from intentional discrimination.

In Bartlett, the Supreme Court stated that if “there were a showing that a State intentionally drew

district lines in order to destroy otherwise effective crossover districts, that would raise serious

questions under both the Fourteenth and Fifteenth Amendments.” 556 U.S. at 24 (citing Bossier

Parish I, 520 U.S. at 481-82). If the Reconstruction Amendments bar intentionally

discriminatory elimination of crossover districts—districts in which minority voters have the

opportunity to “elect the candidate of [their] choice with help from voters who are members of

the majority and who cross over to support the minority’s preferred candidate,” id. at 13—then

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  “[T]he judgments of the Court of Appeals for the Fifth Circuit are binding on the three-judge district
court.” Ala. NAACP State Conf. of Branches v. Wallace, 269 F. Supp. 346, 350 (M.D. Ala. 1967); see
also Finch v. Miss. State Med. Ass’n, 585 F.2d 765, 773 (5th Cir. 1978) (recognizing that “a district court
within [a] Circuit . . . was bound to follow the law of the circuit”).

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those Amendments also must bar intentionally discriminatory elimination of coalition districts

“in which two minority groups form a coalition to elect the candidate of the coalition’s choice,”

id.; see also id. at 13-14 (placing coalitions districts on a spectrum closer to single-minority

majority districts than either crossover districts or influence districts). Moreover, because a

minority coalition is legally identical a single racial minority group if the coalition is cohesive,

see LULAC v. Clements, 999 F.2d at 863, this protection must extend to a coalition of three

minority groups that have been proven to be cohesive.

       Because Section 2 enforces the constitutional bar on intentional discrimination in voting,

see, e.g., Brown, 561 F.3d at 433, the statute forbids jurisdictions from intentionally eliminating

the opportunity of a group of minority voters to elect their candidate of choice, alone or in

combination with other racial groups, by dismantling an effective multi-minority coalition

district. Thus, the intentional fragmentation of a cohesive coalition of African-American,

Hispanic, and Asian American voters that had demonstrated their opportunity to elect their

preferred candidate of choice in House District 149 violated the Voting Rights Act. See supra

Section VII.G.

       2.        Perry v. Perez Did Not Address the Legal Viability of Coalition Claims

       Texas has argued that the Supreme Court’s decision in Perry v. Perez, 132 S. Ct. 934

(2012) (per curiam), establishes that Section 2 cannot require the drawing of coalition districts.

See Defs.’ Mot. Partial Summ. J. 20-21 (ECF No. 996). For the reasons explained in greater

detail in the United States’ response to Texas’s summary judgment motion, the contention is

meritless. See U.S. Mem. 11-13 (ECF No. 1071). When considered in the context of this

litigation’s procedural history, the Supreme Court’s decision in Perez establishes only that

Section 2 requires a specified factual basis, principally findings of minority cohesion, prior to



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recognizing a claim of vote dilution based on the failure to create minority coalition districts.

See 132 S. Ct. at 944. This Court can and should make an express finding of electoral cohesion

among voters in House District 149, see supra Section VII.G, which would clarify the nature of

the State’s intentional vote dilution against those voters.

       3.      The Voting Rights Act Protects Minority Voters Who Do Not Reside in Areas
               in Which a Minority-Majority District Can Be Drawn

       Texas has also claimed that it was not possible to create a second reasonably compact

minority opportunity district in the Dallas-Fort Worth Metroplex in which a single minority

group made up a majority of eligible voters and that, as a result, the State had carte blanche to

pack and crack the minority population of the region. However, regardless of the potential to

craft a single-minority majority district, a jurisdiction may not deliberatively split minority

communities to create a situation in which minority voters have less opportunity than other

citizens to participate in the political process and to elect legislators of their choice. See Garza,

917 F.2d at 771.

       In Garza, the Ninth Circuit heard and rejected a similar argument. Los Angeles County

had asserted that there could be no violation of the Voting Rights Act where “there could be no

single-member district with a majority of minority voters.” 918 F.2d at 769. The court declined

to accept this defense and held that “to the extent that Gingles does require a majority showing, it

does so only in a case where there has been no proof of intentional dilution of minority voting

strength.” Garza, 918 F.2d at 769. Thus, even while accepting that a majority-minority district

could not have been drawn at the time that the County had last redistricted, the court held that

intentional fragmentation of the Hispanic population to protect incumbents was an act of

intentional discrimination that violated the Voting Rights Act. See id. at 771. The Supreme

Court pointed to Garza when it declined to “consider whether intentional discrimination affects

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the Gingles analysis.” Bartlett, 556 U.S. at 20 (citing Garza, 918 F.2d at 771); see also id.

(clarifying that the Court’s larger holding imposing a majority-minority population requirement

for a Section 2 results claim “does not apply to cases in which there is intentional discrimination

against a racial minority”).

       “To the extent that a redistricting plan deliberatively minimizes minority political power,

it may violate both the Voting Rights Act and the Equal Protection Clause of the [F]ourteenth

[A]mendment.” Garza, 918 F.2d at 765; see also LULAC v. Perry, 548 U.S. at 440; United

States v. Brown, 561 F.3d at 424. In the 2011 Congressional plan, Texas intentionally segregated

Hispanic voters in CD 26, segregated African American voters in CD 12, and packed minority

voters in CD 30. See supra Section VI.D. The Congressional districts in the Dallas-Fort Worth

Metroplex are inexplicable on any basis other than race, and the 2011 Congressional plan

resulted in the diminution—and likely the elimination—of the opportunity for minority voters to

participate in the political process and to elect legislators of their choice outside of CD 30. See

supra Section VI.D. Thus, the cracking of minority communities in the DFW region in the 2011

Congressional Plan violated the Voting Rights Act.

X.     CONCLUSION

       Texas’s 2011 Congressional and House redistricting plans were enacted with a racially

discriminatory purpose. The evidence shows that the state reduced minority voting opportunities

in the 2011 Congressional and House plans, when it could easily have expanded such

opportunities. This reduction in minority voting opportunities and overall dilution of the

minority voting strength took place in the face of substantial growth in the minority population

around the state over the prior decade, the presence of geographically compact areas of minority

population that could maintain the cores of existing districts and form the cores of new districts,

and in continued presence of racially polarized voting in the state. The evidence shows that this
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was done intentionally. The United States asks that this Court find that the State Defendants

engaged in intentional racial discrimination in violation of Section 2 of the Voting Rights Act

and the voting guarantees of the Fourteenth and Fifteenth Amendments to the United States

Constitution in adopting the 2011 Congressional and House redistricting plans.

Date: October 30, 2014

                                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

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